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                                                                                        MOTREF ECF
                                 U.S. District Court
                             New York Eastern (Brooklyn)

                         CIVIL DOCKET FOR CASE #: 99-CV-3999

          National Association, et al v. A.A. Arms, Inc., et al       Filed: 07/16/99
          Assigned to: Judge Jack B. Weinstein         Jury demand: Defendant
                       Referred to: Magistrate Cheryl L. Pollak
          Demand: $0,000                               Nature of Suit: 360
          Lead Docket: None                            Jurisdiction: Diversity
          Dkt # in EDNY : is 95cv49

          Cause: 28:1332 Diversity-Personal Injury


          NATIONAL ASSOCIATION FOR THE           Perry Weitz
          ADVANCEMENT OF COLORED PEOPLE          [COR LD NTC]
               plaintiff                         Weitz & Luxenberg, P.C.
                                                 180 Maiden Lane
                                                 New York, NY 10038
                                                 (212) 558-5500

                                                 Jonathan E. Lowy, Esq.
                                                 [COR LD NTC]
                                                 Center to Prevent Handgun
                                                 Violence
                                                 1225 I Street, N.W.
                                                 Suite 1100
                                                 Washington, DC 20005

                                                 Joshua M. Horwitz, Esq.
                                                 [COR LD NTC]
                                                 Karen M. Kohn, Esq.
                                                 [COR LD NTC]
                                                 Carolyn M. Morrissette, Esq.
                                                 [COR LD NTC]
                                                 The Educational Fund to End
                                                 Handgun Violence
                                                 1000 16th Street, N.W.
                                                 Suite 603
                                                 Washington, DC 20036
                                                 (202) 530-5888

                                                 Elisa Barnes
                                                 (FAX) 212-693-2334
                                                 [COR LD NTC]
                                                 Law Office of Elisa Barnes
                                                 111 Broadway
                                                 4th Floor
                                                 New York, NY 10006
                                                 (212) 693-2330



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          NATIONAL SPINAL CORD INJURY            Jonathan E. Lowy, Esq.
          ASSOCIATION                             [term 05/23/02]
               plaintiff                         (See above)
           [term 05/23/02]                       [COR LD NTC]

                                                 Joshua M. Horwitz, Esq.
                                                  [term 05/23/02]
                                                 (See above)
                                                 [COR LD NTC]
                                                 Karen M. Kohn, Esq.
                                                  [term 05/23/02]
                                                 (See above)
                                                 [COR LD NTC]
                                                 Carolyn M. Morrissette, Esq.
                                                  [term 05/23/02]
                                                 (See above)
                                                 [COR LD NTC]

                                                 Elisa Barnes
                                                  [term 05/23/02]
                                                 (See above)
                                                 [COR LD NTC]


             v.


          A.A. ARMS, INC.
               defendant
           [term 03/15/00]


          AMERICAN ARMS, INC.                    Erin Anne O'Leary
               defendant                         [COR LD NTC]
                                                 Morgan, Melhuish et al
                                                 39 Broadway
                                                 35th Floor
                                                 New York, NY 10006
                                                 212-809-1111


          AMERICAN DERRINGER CORPORATION         John F. Renzulli
               defendant                         [COR LD NTC]
                                                 Rutherford & Christie, LLP
                                                 300 East 42nd Street
                                                 New York, NY 10017-5947
                                                 (212) 599-5799

                                                 American Derringer Corporation
                                                 [COR LD NTC] [PRO SE]
                                                 Elisabeth Saundres, President,
                                                 American Derringer Corp.
                                                 127 N. Lacy Drive


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                                                 Waco, TX 76705


          AMERICAN FIREARMS TECNOLOGY
               defendant
           [term 01/20/00]


          ARCADIA MACHINE & TOOL, INC.
               defendant


          ARMS TECHNOLOGY, INC.                  John F. Renzulli
               defendant                         (See above)
                                                 [COR LD NTC]


          ASTRA-STAR C/LBRRA, S.A.
               defendant


          AUGUSTA ARMS, INC.
               defendant
           [term 10/05/99]


          BOND ARMS, INC.                        J. Joseph Wilder
               defendant                         [COR LD NTC]
                                                 Falk and Siemer
                                                 2600 Main Place Tower
                                                 Buffalo, NY 14203
                                                 (716) 852-6670

                                                 Fred E. Scharf
                                                 Fax (212) 599-5162
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                                                 300 East 42nd Street
                                                 New York, NY 10017
                                                 212-599-5799


          BRAZTECH, INC.                         Timothy A. Bumann
               defendant                          [term 10/05/99]
           [term 10/05/99]                       [COR LD NTC]
                                                 Budd, Larner, Gross, Rosenbaum,
                                                 Greenberg & Sade
                                                 The Candler Building
                                                 127 Peachtree Street, N.E.
                                                 Suite 636
                                                 Atlanta, GA 30303
                                                 (404) 688-3000




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          BERSA, S.A.
               defendant




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          B.L. JENNINGS, INC.                    Fred E. Scharf
               defendant                          [term 03/01/01]
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                                                 [COR LD NTC]
                                                 Renzulli & Rutherford, LLP
                                                 300 East 42nd Street
                                                 18th Floor
                                                 New York, NY 10017-5947
                                                 (212) 599-5533

                                                 Brian Heermance
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                                                 [COR LD NTC]
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                                                 Unit C
                                                 Costa Mesa, CA 92626
                                                 (714) 755-0194

                                                 Robert E. Scott, Jr., Esq.
                                                 [COR LD NTC]
                                                 Semmes, Bowen & Semmes
                                                 250 West Pratt Street
                                                 Baltimore, MA 21201
                                                 (410) 539-5040


          BROWNING ARMS CO.                      John F. Renzulli
               defendant                         (See above)
                                                 [COR LD NTC]


          BRYCO ARMS                             Fred E. Scharf


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               defendant                          [term 03/01/01]
                                                 (See above)
                                                 [COR LD NTC]

                                                 Brian Heermance
                                                 (See above)



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                                                 [COR LD NTC]

                                                 James Clifford Sabalos, Esq.
                                                  [term 03/01/01]
                                                 (See above)
                                                 [COR LD NTC]

                                                 Michael C. Hewitt, Esq.
                                                  [term 03/01/01]
                                                 (See above)
                                                 [COR LD NTC]

                                                 Robert E. Scott, Jr., Esq.
                                                 (See above)
                                                 [COR LD NTC]


          CALICO LIGHT WEAPON SYSTEMS,           J. Joseph Wilder
          INC.                                   (See above)
               defendant                         [COR LD NTC]


          CASPIAN ARMS, LTD.
               defendant
           [term 09/15/99]


          CENTURY INTERNATIONAL ARMS,            John F. Renzulli
          INC.                                   (See above)
               defendant                         [COR LD NTC]


          CESKA ZBROJOVKA                        Thomas Edward Healy, Esq.
               defendant                         [COR LD NTC]
                                                 Pino & Associates, LLP
                                                 Westchester Financial Center
                                                 50 Main Street
                                                 White Plains, NY 10606
                                                 (914) 946-0600


          CHARCO 2000, INC.                      Michael P. Kandler
               defendant                         (121) 248-8800
                                                 [COR LD NTC]
                                                 Callan, Regenstreich, Koster &
                                                 Brady
                                                 One Whitehall Street
                                                 New York, NY 10004


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                                                 (212) 248-8800

                                                 Timothy G. Atwood
                                                 [COR LD NTC]
                                                 273 Canal Street
                                                 Shelton, CT 06484
                                                 (203) 924-4484




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          CHINA NORTH INDUSTRIES
          aka
          Norinco
               defendant


          COBRAY FIREARMS, INC
               defendant


          COLT'S MANUFACTURING COMPANY,          Lawrence G. Keane
          INC.                                   [COR LD NTC]
               defendant                         Pino & Associates
                                                 Westchester Financial Center
                                                 50 Main Street
                                                 7th Floor
                                                 White Plains, NY 10606
                                                 (914) 946-0600

                                                 Thomas Edward Healy, Esq.
                                                 (See above)
                                                 [COR LD NTC]

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                                                 [COR LD NTC]
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                                                 2727 North Harwood Street
                                                 Dallas, TX 75201
                                                 (214) 220-3939

                                                 Michael L. Rice, Esq.
                                                 [COR LD NTC]
                                                 Jones, Day, Reavis & Pogue
                                                 2727 North Harwood Street
                                                 Dallas, TX 75201
                                                 (214) 220-3939


          CZ USA                                 Lawrence G. Keane
               defendant                         (See above)
                                                 [COR LD NTC]

                                                 Thomas Edward Healy, Esq.
                                                 (See above)
                                                 [COR LD NTC]


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          DAEWOO PRECISION INDUSTRIES,
          LTD.
               defendant


          DAVIS INDUSTRIES, INC.
               defendant
           [term 09/14/99]




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          DESERT MOUNTAIN MANUFACTURING
               defendant


          EAGLE IMPORTS                          John F. Renzulli
               defendant                         (See above)
                                                 [COR LD NTC]


          EUROPEAN AMERICAN ARMORY CORP.         John F. Renzulli
               defendant                         (See above)
                                                 [COR LD NTC]


          EXCEL INDUSTRIES                       Steven A. Silver, Esq.
          aka                                    Fax: 559-788-2909
          Accu-Tek                               [COR LD NTC]
               defendant                         83 E. Harrison Avenue
                                                 Porterville, CA 93257
                                                 (559) 788-2906


          FABRICA D'ARMI PIETRO BERETTA          Richard L. Mattiaccio
          S.P.A                                  [COR LD NTC]
                defendant                        Pavia & Harcourt
                                                 600 Madison Avenue
                                                 New York, NY 10025
                                                 212/980-3500

                                                 Victor Genecin
                                                 [COR LD NTC]
                                                 Paula & Harcourt
                                                 600 Madison Avenue
                                                 New York, NY 10022
                                                 212-508-2320


          FELK INCORPORATED
               defendant


          FERUNION/HUNGARIAN ARMS


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               defendant


          FORT WORTH ARMS
               defendant


          FREEDOM ARMS, INC.                     John F. Renzulli
               defendant                         (See above)
                                                 [COR LD NTC]


          FIREARMS INTERNATIONAL CORP.
               defendant
           [term 10/05/99]



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          F.M.J., INC.
          dba
          Full Metal Jacket, Inc.
               defendant


                                                 John F. Renzulli
               defendant                         (See above)
                                                 [COR LD NTC]


          GLOCK, INC.                            John F. Renzulli
               defendant                         (See above)
                                                 [COR LD NTC]


          GRENDEL, INC.
               defendant


          HAMMERLI LTD.                          Robert L. Joyce
          aka                                    [COR LD NTC]
          Hammerli GmbH                          Wilson, Elser, Moskowitz,
               defendant                         Edelman & Dicker, L.L.P.
                                                 150 East 42nd Street
                                                 23rd Floor
                                                 New York, NY 10017-5639
                                                 (212) 490-3000


          HARRINGTON & RICHARDSON, INC.
               defendant
           [term 09/15/00]


          HASKELL, INC.
               defendant


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           [term   10/05/99]


          HECKLER & KOCH, GMBH                   Leslie F. Ruff
               defendant                         [COR LD NTC]
                                                 Biedermann, Hoenig, Massamillo
                                                 & Ruff
                                                 90 Park Avenue
                                                 36th Floor
                                                 New York, NY 10016
                                                 (212)697-6555


          HECKLER & KOCH, INC.                   Edward G. Williams
               defendant                         (212) 513-3522
                                                 [COR LD NTC]
                                                 Holland & Knight, LLP
                                                 195 Broadway



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                                                 New York, NY 10007
                                                 (212) 513-3200

                                                 Leslie F. Ruff
                                                 (See above)
                                                 [COR LD NTC]

                                                 Charles L. Coleman, III, Esq.
                                                 [COR LD NTC]
                                                 44 Montgomery Street
                                                 Suite 4050
                                                 San Francisco, CA 94104
                                                 (415) 743-6900

                                                 James V. Marks, Esq.
                                                 Fax: (212) 385-9010
                                                 [COR LD NTC]
                                                 Holland & Knight, Haight,
                                                 Gardner
                                                 195 Broadway
                                                 New York, NY 10007-3189
                                                 (212) 341-7000


          HERITAGE MANUFACTURING, INC.           Timothy A. Bumann
               defendant                         (See above)
                                                 [COR LD NTC]


          HIGH STANDARD MANUFACTURING,
          INC.
               defendant


          HI-POINT FIREARMS
               defendant


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          H&R 1871, INC.                         John F. Renzulli
               defendant                          [term 12/27/00]
           [term 12/27/00]                       (See above)
                                                 [COR LD NTC]


          HOWA MACHINERY LTD.
               defendant
           [term 02/09/01]


          IMPORT SPORTS CORP.                    John F. Renzulli
               defendant                          [term 10/05/99]
           [term 10/05/99]                       (See above)
                                                 [COR LD NTC]


          INTERNATIONAL ARMAMENT                 Michael P. Kandler
          CORPORATION                            (See above)



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           dba                                  [COR LD NTC]
           Interarms
                defendant                       Timothy G. Atwood
                                                (See above)
                                                [COR LD NTC]


           ISRAEL MILITARY INDUSTRIES           John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           K.B.I. INC.                          John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           KEL-TEC CNC INDUSTRIES, INC.         John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           L.A.R. MANUFACTURING, INC.           John F. Renzulli
                defendant                        [term 02/12/01]
            [term 02/12/01]                     (See above)
                                                [COR LD NTC]


           LASERAIM TECHNOLOGIES, INC.
                defendant
            [term 11/17/99]




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           LLAMA GABILONDO Y CIA
                defendant


           LORCIN ENGINEERING CO., INC.
                defendant


           L.W. SEECAMP CO., INC.               Michael P. Kandler
                defendant                       (See above)
                                                [COR LD NTC]

                                                Timothy G. Atwood
                                                (See above)
                                                [COR LD NTC]


           MAGNUM RESEARCH INC.                 John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           MAUSER WEKE OBERNDORF
           WAFFNSYSTEME GMBH



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                defendant


           MAVERICK ARMS, INC.                  John F. Renzulli
                defendant                        [term 10/18/00]
            [term 10/18/00]                     (See above)
                                                [COR LD NTC]


           MITCHELL ARMS, INC.
                defendant


           MKS SUPPLY, INC.
                defendant
            [term 09/29/99]


           NAVEGAR, INC.                        John F. Renzulli
           dba                                  (See above)
           Intratec                             [COR LD NTC]
                defendant


           NAVY ARMS, INC.                      Frederick B. Polak
                defendant                        [term 10/05/99]
            [term 10/05/99]                     [COR LD NTC]
                                                Post, Polak, Goodsell &
                                                MacNeill
                                                575 Madison Avenue


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                                                New York, NY 10022
                                                212-486-1455


           NORTH AMERICAN ARMS                  John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]

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                                                [COR LD NTC]
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                                                Associates
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                                                Philadelphia, PA 19102
                                                (215) 569-3096


           NORTH CHINA INDUSTRIES NORINCO,
           INC.
                defendant


           OLYMPIC ARMS, INC.                   E. Gordon Haesloop
                defendant                       [COR LD NTC]
                                                Bartlett, McDonough Bastone &



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                                                300 Old Country Road
                                                Mineola, NY 11501
                                                (516) 877-2900

                                                E. Gordon Haesloop
                                                [COR LD NTC]
                                                Bartlett McDonough Bastone &
                                                Monaghan
                                                300 Old County Road
                                                Mineola, NY 11501
                                                (516) 877-2900


           PARA-ORDNANCE MANUFACTURING          John F. Renzulli
           INC.                                 (See above)
                defendant                       [COR LD NTC]


           PARA-ORDNANCE, INC.                  John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           PHOENIX ARMS, INC.                   Mark L. Clark, Esq.
                defendant                       Fax (713) 227-0701
                                                [COR LD NTC]


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                                                Michael J. Zomcik, Esq.
                                                Fax: (713) 227-0701
                                                [COR LD NTC]
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                                                Houston, TX 77056
                                                (713) 629-4777

                                                Michael Branisa, Esq.
                                                Fax: (713) 227-0701
                                                [COR LD NTC]
                                                Tarics & Carrington, P.C.
                                                5005 Riverway
                                                Suite 500
                                                Houston, TX 77056
                                                (713) 629-4777


           QUALITY ARMS, INC.
                defendant
            [term 10/05/99]


           QUALITY FIREARMS, INC.
                defendant
            [term 09/13/00]


           QUALITY FIREARMS OF IDAHO,



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           INC.
                defendant
            [term 09/15/00]


           RAM-LINE CORP.
                defendant
            [term 12/16/99]


           RAVEN ARMS, INC.
                defendant


           REMINGTON ARMS COMPANY               Anne E. Cohen
                defendant                        [term 10/13/00]
            [term 10/13/00]                     [COR LD NTC]
                                                Debevoise & Plimpton
                                                875 Third Avenue
                                                New York, NY 10022
                                                (212) 909-6000


           REPUBLIC ARMS                        Republic Arms


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                  defendant                     [COR LD NTC] [PRO SE]
                                                Jim L. Davis, President,
                                                Republic Arms
                                                15167 Sierra Bonita Lane
                                                Chino, CA 91710
                                                (909) 597-3873


           RG INDUSTRIES, INC.
                defendant
            [term 01/20/00]


           ROCKY MOUNTAIN ARMS, INC.
                defendant
            [term 12/20/99]


           ROHM GMBH
                defendant
            [term 07/12/00]


           ROSSI, S.A.                          Timothy A. Bumann
                defendant                       (See above)
                                                [COR LD NTC]


           SAFARI ARMS, INC.                    E. Gordon Haesloop
                defendant                       (See above)
                                                [COR LD NTC]

                                                E. Gordon Haesloop



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                                                (See above)
                                                [COR LD NTC]


           SAVAGE ARMS, INC.                    John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           SGS IMPORTS INTERNATIONAL,           John F. Renzulli
           INC.                                 (See above)
                defendant                       [COR LD NTC]


           SGW ENTERPRISES, INC.                E. Gordon Haesloop
                defendant                       (See above)
                                                [COR LD NTC]

                                                E. Gordon Haesloop
                                                (See above)
                                                [COR LD NTC]


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           SIGARMS, INC.                        Robert L. Joyce
                defendant                       (See above)
                                                [COR LD NTC]


           SIGARMS/SAUER                        Robert L. Joyce
                defendant                       (See above)
                                                [COR LD NTC]


           SMITH & WESSON CORPORATION           Gary R. Long, Esq.
                defendant                       [COR LD NTC]
                                                Shook, Hardy & Bacon, L.L.P.
                                                One Kansas City Place
                                                1200 Main Street
                                                Kansas City, MO 64105
                                                (816) 474-6550

                                                James P. Dorr
                                                 [term 05/19/00]
                                                [COR LD NTC]
                                                Wildman, Harrold, Allen & Dixon
                                                225 West Wacker Drive
                                                Chicago, IL 60606-1229
                                                (312) 201-2000

                                                Joel Cohen
                                                Fax (212) 801-6400
                                                [COR LD NTC]
                                                Greenberg, Traurig, LLP
                                                885 Third Avenue
                                                21st Floor
                                                New York, NY 10022
                                                (212) 848-1000



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                                                Gary R. Long
                                                [COR LD NTC]
                                                Shook Hardy & Bacon LLP
                                                One Kansas City Place - 1200
                                                Main Street
                                                Kansas City, MI 64105

                                                Jeffrey S. Nelson, Esq.
                                                [COR LD NTC]
                                                Shook Hardy & Bacon, LLP
                                                One Kansas City Place
                                                1200 Main Street
                                                Kansas City, MO 64105
                                                (816) 474-6550

                                                Joel M. Cohen
                                                Below Address Terminated on 9/21/01


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                                                [COR LD NTC]
                                                Greenberg Traurig, LLP
                                                885 Third Avenue, 21st Floor
                                                New York, NY 10022
                                                (212) 688-2449


           SPORTSMEN OF FLORIDA
                defendant
            [term 09/15/00]


           STALLARD/MAVERICK ARMS, INC.
                defendant
            [term 09/15/00]


           STALLARD ARMS
                defendant
            [term 09/15/00]


           STAR, BONIFACIO ECHEVERRIA
           S.A.
                defendant


           STI INTERNATIONAL                    William H. Connor, Esq.
                defendant                        [term 02/12/01]
            [term 02/12/01]                     Fax (512) 869-3486
                                                [COR LD NTC]
                                                624 S. Austin Avenue
                                                Suite 101
                                                Georgetown, TX 78626
                                                (512) 863-4576


           STOEGER, INC.
                defendant



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            [term   02/18/00]


           STURM, RUGER & COMPANY               Anne Giddings Kimball
                defendant                       [COR LD NTC]
                                                James P. Dorr
                                                (See above)
                                                [COR LD NTC]
                                                Wildman, Harrold, Allen & Dixon
                                                225 West Wacker Drive
                                                Chicago, IL 60606-1229
                                                (312) 201-2000


           SUNDANCE INDUSTRIES, INC.


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                defendant


           S.W. DANIEL, INC.
                defendant


           TANFOGLIO S.R.1.
                defendant
            [term 10/05/99]


           TAURUS HOLDINGS, INC.                Timothy A. Bumann
                defendant                       (See above)
                                                [COR LD NTC]


           TAURUS INTERNATIONAL                 Timothy A. Bumann
           MANUFACTURING, INC.                  (See above)
                defendant                       [COR LD NTC]


           FORJAS TAURUS, S.A.                  Timothy A. Bumann
                defendant                       (See above)
                                                [COR LD NTC]


           THOMPSON/CENTER ARMS                 John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           UBERTI ALDO
                defendant


           UBERTI USA, INC.                     Michael P. Kandler
                defendant                       (See above)
                                                [COR LD NTC]

                                                Timothy G. Atwood
                                                (See above)



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                                                [COR LD NTC]


           ULTRA LIGHT ARMS, INC.
                defendant


           VEBA AG
                defendant
            [term 07/12/00]




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           WALTHER GMBH                         Daniel J. O'Neill
                defendant                        [term 10/25/00]
                                                [COR LD NTC]
                                                Walter, Conston, Alexander &
                                                Green, P.C.
                                                90 Park Avenue
                                                New York, NY 10016-1387
                                                (212) 210-9400

                                                Terry Moritz
                                                [COR LD NTC]
                                                Roger A. Lewis, Esq.
                                                [COR LD NTC]
                                                Goldberg, Kohn, Bell, Black,
                                                Rosenbloom & Moritz, Ltd.
                                                55 East Monroe Street
                                                Suite 3700
                                                Chicago, IL 60603

                                                Thomas P. Battistoni
                                                [COR LD NTC]
                                                Balber Pickard Battistoni
                                                Maldonado & Van Der Tuin, PC
                                                1370 Avenue of the Americas
                                                New York, NY 10019-4602
                                                (212) 246-2400


           WEATHERBY, INC.                      Douglas C. Conroy
                defendant                       [COR LD NTC]
                                                Paul, Hastings, Janofsky &
                                                Walker LLP
                                                1055 Washington Boulevard
                                                9th Floor
                                                Stamford, CT 06901
                                                (203) 961-7400


           BRUCE JENNINGS                       Fred E. Scharf
                defendant                        [term 09/15/00]
            [term 09/15/00]                     (See above)
                                                [COR LD NTC]

                                                James Clifford Sabalos, Esq.
                                                 [term 09/15/00]



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                                                (See above)
                                                [COR LD NTC]


           SYLVIA DANIEL                        Steven Jay Harfenist
                defendant                       [COR LD NTC]
                                                Friedman & Harfenist
                                                3000 Marcus Avenue, Suite 2E1
                                                Lake Success, NY 11042


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                                                516-775-5800

                                                Steven Jay Harfenist
                                                [COR LD NTC]
                                                Friedman & Harfenist
                                                3000 Marcus Avenue
                                                Suite 2E1
                                                Lake Success, NY 11042
                                                516-775-5800


           WAYNE DANIEL
                defendant


           AUTAUGA ARMS, INC.
                defendant


           BEEMILLER, INC.                      John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           FIREARMS INTERNATIONAL INC.,
                defendant


           IMPORT SPORTS, INC.
                defendant


           NAVY ARMS COMPANY                    Frederick B. Polak
                defendant                       (See above)
                                                [COR LD NTC]


           RAM-LINE, INC.
                defendant
            [term 09/13/00]


           BRAZTECH INTERNATIONAL, L.C.         Timothy A. Bumann
                defendant                       (See above)
                                                [COR LD NTC]


           STOEGER INDUSTRIES, INC.



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                defendant
            [term 09/13/00]


           EMCO, INC.                           R. Kent Henslee, Esq.
                defendant                       [COR LD NTC]


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                                                Henslee, Robertson & Strawn,
                                                L.L.C.
                                                754 Chestnut Street, P.O. Box
                                                246
                                                Gadsden, AL 35902-0246
                                                (256) 543-9790

                                                Christie D. Knowles, Esq.
                                                [COR LD NTC]
                                                Henslee, Robertson & Strawn,
                                                L.L.C.
                                                754 Chestnut Street, P.O. Box
                                                246
                                                Gadsden, AL 35902-0246
                                                (256) 543-9790


           ========================


           HASKELL COMPANY                      John F. Renzulli
                defendant                       [COR LD NTC]
                                                Rutherford & Christie, LLP
                                                300 East 42nd Street
                                                New York, NY 10017-5947
                                                (212) 599-5799


           TANFOGLIO FRATELLI S.R.L             John F. Renzulli
                defendant                       (See above)
                                                [COR LD NTC]


           ========================


           WALTHER USA LLC                      Robert Neil Feltoon, Esq.
                defendant                       [COR LD NTC]
                                                Conrad, O'Brien, Gellman & Rohn,
                                                P.C.
                                                1515 Market Street
                                                16th Floor
                                                Philadelphia, PA 19102
                                                (215) 864-9600


           TALON INDUSTRIES, INC.
                defendant


           DAVIS INDUSTRIES



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                defendant



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           7/16/99   1      COMPLAINT filed and summons(es) issued for A.A. Arms,
                            Inc., American Arms, Inc., American Derringer, American
                            Firearms, Arcadia Machine, Arms Technology, Inc, Astra-star
                            C/Lbrra, Augusta Arms, Inc., Bond Arms, Inc., Braztech,
                            Inc., Bersa, S.A., B.L. Jennings, Inc., Browning Arms Co.,
                            Bryco Arms, Calico Light Weapon, Caspian Arms, Ltd.,
                            Century Internationa, Ceska Zbrojovka, Charco 2000, Inc.,
                            China North Industri, Cobray Firearms, Inc, Colt's
                            Manufacturing, Cz Usa, Daewoo Precision Ind, Davis
                            Industries, In, Desert Mountain Manu, Eagle Imports,
                            European American Ar, Excel Industries, Fabrica D'Armi
                            Pietr, Felk Incorporated, Ferunion/Hungarian, Fort Worth
                            Arms, Freedom Arms, Inc., Firearms Internation, F.M.J.,
                            Inc., Glock GmbH, Glock, Inc., Grendel, Inc., Hammerli
                            Ltd., Harrington & Richard, Haskell, Inc., Heckler & Koch,
                            GmbH, Heckler & Koch, Inc., Heritage Manufacturi, High
                            Standard Manufa, Hi-Point Firearms, H&R 1871, Inc., Howa
                            Machinery Ltd., Import Sports Corp., International Armame,
                            Israel Military Indu, K.B.I. Inc., Kel-Tec Cnc Industri,
                            L.A.R. Manufacturing, Laseraim Technologie, Llama Gabilondo
                            Y Ci, Lorcin Engineering, L.W. Seecamp Co., Magnum Research
                            Inc., Mauser Weke Oberndor, Maverick Arms, Inc., Mitchell
                            Arms, Inc., Mks Supply, Inc., Navegar, Inc., Navy Arms,
                            Inc., North American Arms, North China Industri, Olympic
                            Arms, Inc., Para-Ordnance Manufa, Para-Ordnance, Inc.,
                            Phoenix Arms, Inc., Quality Arms, Inc., Quality Firearms,
                            In, Quality Firearms Of, Ram-Line Corp., Raven Arms, Inc.,
                            Remington Arms Compa, Republic Arms, Rg Industries, Inc.,
                            Rocky Mountain Arms, Rohm GmbH, Rossi, S.A., Safari Arms,
                            Inc., Savage Arms, Inc., Sgs Imports Internat, Sgw
                            Enterprises, Inc, Sigarms, Inc., Sigarms/Sauer, Smith &
                            Wesson Corpo, Sportsmen Of Florida, Stallard/Maverick,
                            Stallard Arms, Star, Bonifacio Eche, Sti International,
                            Stoeger, Inc., Sturm, Ruger & Compa, Sundance Industries,
                            S.W. Daniel, Inc., Tanfoglio S.r.1., Taurus Holdings, Inc,
                            Taurus International, Forjas Taurus, S.A., Thompson/Center
                            Arms, Uberti Aldo, Uberti Usa, Inc., Ultra Light Arms, In,
                            Veba AG, Walther GmbH, Weatherby, Inc., Bruce Jennings,
                            Sylvia Daniel, Wayne Daniel   FILING FEE $ 150.00 RECEIPT
                            # 221297 (fxc) [Entry date 07/19/99]
                            [Edit date 07/19/01]

           7/25/99   222    ANSWER by Walther GmbH to amended complaint (fp)
                            [Entry date 07/26/00]

           9/13/99   2      ORDER, pltff voluntarily dismisses without prejudice the
                            action against dft Caspian Arms Ltd.. ( signed by Judge
                            Jack B. Weinstein , on 9/13/99) (fp) [Entry date 09/15/99]

           9/14/99   3      NOTICE of Dismissal without prejudice as to dft Davis
                            Industries Inc. (fp) [Entry date 09/15/99]



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           9/27/99   5      ORDER/NOTICE dismissing this action voluntarily without
                            prejudice as to defendant Quality Arms, Inc. (Signed by
                            Judge Jack B. Weinstein on 9/27/99). (lr)
                            [Entry date 10/01/99]

           9/29/99   4      NOTICE of Dismissal without prejudice against dft MKS
                            Supply, Inc. (Mag. Pollak Notified) (fp)
                            [Entry date 09/30/99] [Edit date 09/30/99]



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           10/5/99   6      AMENDED COMPLAINT by National Association , (Answer due
                            10/15/99 for Glock, Inc., for Glock GmbH, for A.A. Arms,
                            Inc., for American Arms, Inc., for American Derringer, for
                            American Firearms, for Arcadia Machine, for Arms
                            Technology, Inc, for Astra-star C/Lbrra, for Bond Arms,
                            Inc., for Braztech, Inc., for Bersa, S.A., for B.L.
                            Jennings, Inc., for Browning Arms Co., for Bryco Arms, for
                            Calico Light Weapon, for Century Internationa, for Ceska
                            Zbrojovka, for Charco 2000, Inc., for China North Industri,
                            for Cobray Firearms, Inc, for Colt's Manufacturing, for Cz
                            Usa, for Daewoo Precision Ind, for Desert Mountain Manu,
                            for Eagle Imports, for European American Ar, for Excel
                            Industries, for Fabrica D'Armi Pietr, for Felk
                            Incorporated, for Ferunion/Hungarian, for Fort Worth Arms,
                            for Freedom Arms, Inc., for Firearms Internation, for
                            F.M.J., Inc., for Grendel, Inc., for Hammerli Ltd., for
                            Harrington & Richard, for Heckler & Koch, GmbH, for Heckler
                            & Koch, Inc., for Heritage Manufacturi, for High Standard
                            Manufa, for Hi-Point Firearms, for H&R 1871, Inc., for Howa
                            Machinery Ltd., for Import Sports Corp., for International
                            Armame, for Israel Military Indu, for K.B.I. Inc., for
                            Kel-Tec Cnc Industri, for L.A.R. Manufacturing, for
                            Laseraim Technologie, for Llama Gabilondo Y Ci, for Lorcin
                            Engineering, for L.W. Seecamp Co., for Magnum Research
                            Inc., for Mauser Weke Oberndor, for Maverick Arms, Inc.,
                            for Mitchell Arms, Inc., for Navegar, Inc., for Navy Arms,
                            Inc., for North American Arms, for North China Industri,
                            for Olympic Arms, Inc., for Para-Ordnance Manufa, for
                            Para-Ordnance, Inc., for Phoenix Arms, Inc., for Quality
                            Arms, Inc., for Quality Firearms Of, for Ram-Line Corp.,
                            for Raven Arms, Inc., for Remington Arms Compa, for
                            Republic Arms, for Rg Industries, Inc., for Rocky Mountain
                            Arms, for Rohm GmbH, for Rossi, S.A., for Safari Arms,
                            Inc., for Savage Arms, Inc., for Sgs Imports Internat, for
                            Sgw Enterprises, Inc, for Sigarms, Inc., for Sigarms/Sauer,
                            for Smith & Wesson Corpo, for Sportsmen Of Florida, for
                            Stallard/Maverick, for Stallard Arms, for Star, Bonifacio
                            Eche, for Sti International, for Stoeger, Inc., for Sturm,
                            Ruger & Compa, for Sundance Industries, for S.W. Daniel,
                            Inc., for Taurus Holdings, Inc, for Taurus International,
                            for Forjas Taurus, S.A., for Thompson/Center Arms, for
                            Uberti Aldo, for Uberti Usa, Inc., for Ultra Light Arms,
                            In, for Veba AG, for Walther GmbH, for Weatherby, Inc., for
                            Bruce Jennings, for Sylvia Daniel, for Wayne Daniel )



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                            amending [1-1] complaint against Haskell Company, Tanfoglio
                            Fratelli S, Autauga Arms, Inc, BeeMiller, Inc. (fp)
                            [Entry date 10/07/99]



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           10/29/99 22      RETURN OF SERVICE executed as to Colt's Manufacturing;
                            Century International Arms Inc; L.A.R. Manufacturing, Inc;
                            Arms Technology Inc; North American Arms, Inc;
                            International Armanent Corporation; Heckler & Koch;
                            European American Armory Corp; Grendel Inc; Kel-Tec CNC
                            Industries Inc; B.L. Jennings, Inc; CZ USA; American Arms,
                            Inc; Desert Mountain Manufacturing; Haskell Inc; Magnum
                            Research; Phoenix Arms; Charco 2000; Sturm. Ruger & company;
                             L.W. Seecamp Company, Inc; Uberti (USA), Inc; Felk Inc;
                            Hi-Point Arms; Smith & Wesson Corp; Savage Arms, Inc; H&R
                            1871, Inc; Harrington & Richardson, Inc; Lasaraim
                            Technologies, Inc; Taurus Holdings Inc; Taurus
                            International Manufacturing Inc; Braz Tech International,
                            L.C.; Navegar Inc. d/b/a Intratec; Rocky Mountain Arms, Inc;
                             Hi-Points Arms, Inc; High Standard Manufacturing, Inc;
                            (AMENDED SUMMONS & COMPLAINT) (fp) [Entry date 12/02/99]

           11/3/99   7      LETTER   dated 11/1/99 from John F. Renzulli to Judge
                            Weinstein, requesting confirmation that this court's prior
                            ruling in Hamilton v. Accu-Tek applies to this case as
                            well. (fp) [Entry date 11/03/99]

           11/3/99   --     Endorsed order, The view of the parties are requested. (
                            Signed by Judge Jack B. Weinstein , on 11/1/99) c/m
                            (endorsed on letter, document #7) (fp) [Entry date 11/03/99]

           11/8/99   8      LETTER   dated 10/28/99 from Denise M. Dunleavy to Judge
                            Weinstein, requesting an extension of time of 60 days to
                            effectuate service of the amended complaint upon dfts. (fp)
                            [Entry date 11/08/99]

           11/8/99   --     Endorsed order, application granted for a 60 day extension
                            to effectuate service of the amended complaint upon dfts. (
                            Signed by Judge Jack B. Weinstein , on 11/1/99) c/m
                            (endorsed on letter, document #8) (fp) [Entry date 11/08/99]

           11/8/99   9      NOTICE dated 11/5/99 from June P. Lowe that a status
                            conference will be held on 11/30/99 at 10:30 before Judge
                            Weinstein. (fp) [Entry date 11/08/99]

           11/8/99   10     ANSWER to Complaint by John Lenkey III on behalf of Felk
                            Incorporated. (fp) [Entry date 11/09/99]
                            [Edit date 11/12/99]

           11/12/99 11      LETTER dated 11/4/99 from Denise M. Dunleavy to JBW:
                            pltffs do not object to extending defts' time to answer.
                            (jag) [Entry date 11/12/99]

           11/12/99 12      ORDER staying this action until conference is held. (
                            signed by Judge Jack B. Weinstein , on 11/5/99) See
                            endorsement on letter dtd 11/4/99 to JBW from Douglas C.
                            Conroy, atty for Weatherby, requesting a stay. (jag)
                            [Entry date 11/12/99]



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           11/12/99 13      LETTER dated 11/1/99 from Timothy A. Bumann to JBW
                            requesting an extension of time to answer until 20 days
                            after the decision on the stay. (jag) [Entry date 11/12/99]

           11/16/99 16      ANSWER to Complaint by Elisabeth Saundres, President of
                            American Derringer. (address 127 N. Lacy Drive, Waco Texas
                            76705; (254) 799-9111) (fp) [Entry date 11/22/99]
                            [Edit date 02/16/00]

           11/17/99 14      STIPULATION and ORDER, that dft Olympic Arms. Inc. is
                            granted an extension to 12/15/99 to answer or respond. (
                            signed by Judge Jack B. Weinstein , on 11/15/99) (fp)
                            [Entry date 11/17/99]

           11/17/99 15      ORDER, that pltff volantarily dismiss without prejdice the
                            action against dft Laseraim Technologies, Inc. ( signed by
                            Judge Jack B. Weinstein , on 11/15/99) (fp)
                            [Entry date 11/17/99]

           11/24/99 26      MOTION by National Association, National Spinal Cord for
                            Jonathan E. Lowy to appear pro hac vice, Motion hearing
                            [26-1] motion (fp) [Entry date 12/03/99]

           11/24/99 27      AFFIDAVIT of Jonathan E. Lowy Re: In support of [26-1]
                            motion for Jonathan E. Lowy to appear pro hac vice (fp)
                            [Entry date 12/03/99]

           11/24/99 31      LETTER   dated 11/23/99 from Karen Kohn to Clerk,
                            enclosing two motions for pro hac vice admission for
                            attorneys Karen M. Kohn and Joshua M. Horwitz, counsel for
                            pltff. (fp) [Entry date 12/09/99]

           11/24/99 32      MOTION by National Association, National Spinal Cord for
                            Karen M. Kohn to appear pro hac vice, Motion hearing
                            [32-1] motion (fp) [Entry date 12/09/99]

           11/24/99 33      AFFIDAVIT of Karen M. Kohn Re: In support of [32-1] motion
                            for Karen M. Kohn to appear pro hac vice (fp)
                            [Entry date 12/09/99]

           11/24/99 34      MOTION by National Association, National Spinal Cord for
                            Joshua M. Horwitz to appear pro hac vice, Motion hearing
                            [34-1] motion (fp) [Entry date 12/09/99]

           11/24/99 35      AFFIDAVIT of Joshua M. Horwitz Re: In support of [34-1]
                            motion for Joshua M. Horwitz to appear pro hac vice. (fp)
                            [Entry date 12/09/99]

           11/29/99 17      CERTIFICATE OF SERVICE by Jeni Wright of the Motion to
                            Admit Counsel Pro Hac Vice and Affidavit of Jonathan E.
                            Lowy by mail on 11/24/99 upon dfts. (fp)
                            [Entry date 12/01/99]



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           11/29/99 18      MOTION by Sti International to dismiss the action.
                            Motion hearing [18-1] motion (fp) [Entry date 12/01/99]

           11/29/99 23      RETURN OF SERVICE executed as to Sturm, Ruger & Company;
                            Import Sports, Inc; SGS Imports International Inc; Eagle
                            Imports; Stoeger Industries, Inc; Colt's Manufacturing;
                            Navy Arms Company; Lorcin Engineering Co., Inc; Raven Arms;
                            Arcadia Machine & Tool; Sundance Industries, Inc; Wetherby,
                            Inc; SGW Enterprises INc WTNI SGW Incorpated; Olympic Arms,
                            Inc; Para-Ordnance Manufacturing; Cobray Firearms, Inc;
                            Wayne Daniel; Sylvia Daniel; S.W. Daniels; RG Industries,
                            Inc; Excel Industries AKA Accu-Tek; Republic Arms; KBI Inc;
                            Remington Arms; Freedom Arms; B&E Manufacturing Co;
                            Heritigate Manufacturing, Inc; A.A. Arms. Inc; Calico Light
                            Weapon Systems; Quality Firearms, Inc; Colt Arms; STI
                            international; American Derringer Corporation; Bond Arms,
                            Inc; Maverick arms, Inc; (AMENDED SUMMONS & COMPLAINT AND
                            OR SUMMONS & COMPLAINT) (fp) [Entry date 12/02/99]

           11/30/99 20      Calendar entry: Before Judge Weinstein on 11/30/99 for a
                            Conference. (fp) [Entry date 12/01/99]

           11/30/99 36      MOTION by National Association, National Spinal Cord for
                            Carolyn M. Morrissette to appear pro hac vice, Motion
                            hearing [36-1] motion (fp) [Entry date 12/09/99]

           11/30/99 37      AFFIDAVIT of Carolyn M. Morrissette Re: In support of
                            [36-1] motion for Carolyn M. Morrissette to appear pro hac
                            vice. (fp) [Entry date 12/09/99]

           12/1/99   19     ORDER, tht APS International Ltd is authorized to effect
                            service of process on the following six dfts: Glock, GmbH;
                            Mauswer Weke Oberndorf Waffnystemme Gmbh; Sigarms/Sauer;
                            Walther GmbH; Rohm GmbH; Veba Ag; and Heckler & Koch, GmbH
                            in Germany in accordance with the Hague Convention and
                            International law. ( signed by Judge Jack B. Weinstein
                            11/30/99 ) (fp) [Entry date 12/01/99]

           12/2/99   21     STIPULATION and ORDER, the action by pltff National
                            Association for the Advancement of Colored People and dft
                            Stoeger Industries is discontinued with prejudice and
                            without costs or fees to either party. ( signed by Judge
                            Jack B. Weinstein , on 11/29/99) (fp) [Entry date 12/02/99]

           12/2/99   24     RETURN OF SERVICE executed as to Firearms Internation
                            11/12/99. (Complaint and Amended Complaint) (fp)
                            [Entry date 12/03/99]

           12/3/99   25     ANSWER to Complaint and Motion to Dismiss by A.A. Arms,
                            Inc. (submitted by Dr. Ing. Dirk A. Lindenbeck V. Pres.) (fp)
                            [Entry date 12/03/99]



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           12/3/99   --     Endorsed order granting [26-1] motion for Jonathan E. Lowy



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                            to appear pro hac vice ( Signed by Judge Jack B. Weinstein
                            ,   on 11/29/99) (endorsed on letter, document #26) c/m (fp)
                            [Entry date 12/03/99]

           12/6/99   28     LETTER dated 12/3/99 from Richard L. Richards to Perry
                            Weitz, advising that James W. Jarvis who was served on
                            11/11/99 with the summons and complaint is not a registered
                            agent, officer, employer, director, representative of and
                            does not have any authorization to accept service on behalf
                            of Qualify Firearms, Inc. (fp) [Entry date 12/07/99]

           12/6/99   38     LETTER   dated 12/3/99 from Richard L. Richards to Perry
                            Weitz, advising that James W. Jarvis who was served on
                            11/11/99 with the summons and complaint is not a registered
                            agent, officer, employer, director, and does not have any
                            authorization to accept service on behalf of dft Qualify
                            Firearms, Inc. (fp) [Entry date 12/14/99]

           12/7/99   29     TRANSCRIPT for Status Conference before Judge Weinstein
                            filed for dates of 11/30/99. ESR, Lourdes Vazquez; ESR,
                            Lourdes Vazquez; Court Transcriber, Shari Riemer, TypeWrite
                            Word Processing Service. (fp) [Entry date 12/07/99]

           12/8/99   30     STIPULATION and ORDER, the time of dft Magmum Research
                            Inc. to answer is extended to 12/20/99. ( signed by Judge
                            Jack B. Weinstein , on 12/6/99) (fp) [Entry date 12/08/99]

           12/9/99   --     Endorsed order granting [32-1] motion for Karen M. Kohn to
                            appear pro hac vice ( Signed by Judge Jack B. Weinstein ,
                            on 11/30/99) (endorsed on letter, document #31) c/m (fp)
                            [Entry date 12/09/99]

           12/9/99   --     Endorsed order granting [34-1] motion for Joshua M. Horwitz
                            to appear pro hac vice. ( Signed by Judge Jack B. Weinstein
                            on 11/30/99) (endorsed on letter, document #34) c/m (fp)
                            [Entry date 12/09/99]

           12/9/99   --     Endorsed order granting [36-1] motion for Carolyn M.
                            Morrissette to appear pro hac vice ( Signed by Judge Jack
                            B. Weinstein ,   on 11/30/99) (endorsed on letter, document
                            #36) c/m (fp) [Entry date 12/09/99]

           12/14/99 39      RETURN OF SERVICE executed as to BeeMiller, Inc. 10/13/99
                            (Summons and Complaint and Amended Summons and Amended
                            Complaint) (fp) [Entry date 12/15/99]

           12/16/99 40      LETTER   dated 12/10/99 from Robert C. Heinemann to Jeff
                            Karsten, enclosing 5 original copies, signed and sealed, of
                            the "Request for Service Abroad of Judicial or Extrajudical
                            Documents". (fp) [Entry date 12/16/99]

           12/16/99 42      NOTICE of Dismissal without prejudice as to dft Ram-Line,
                            Inc. (fp) [Entry date 12/17/99]


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           12/17/99 41      STIPULATION and ORDER, the time for pltffs to oppose the
                            motion to dismiss of STI Internatinal, Inc is extended to
                            and includes 1/31/00 (unsigned by Judge Jack B. Weinstein



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                            ) (fp) [Entry date 12/17/99]

           12/20/99 44      NOTICE of Dismissal by pltffs without prejudice as to dft
                            Rocky Mountain Arms, Inc. (fp) [Entry date 12/21/99]

           12/21/99 43      STIPULATION and ORDER, the time for pltffs to oppose the
                            motion to dismiss of STI International, Inc is extended to
                            1/31/00. ( signed by Judge Jack B. Weinstein , on
                            12/16/99) (fp) [Entry date 12/21/99]

           12/21/99 45      ANSWER by Navy Arms, Inc. to amended complaint; jury demand
                            (fp) [Entry date 12/22/99]

           12/22/99 46      Suggestion of Bankruptcy filed by John D. Sigel. (fp)
                            [Entry date 12/28/99]

           12/28/99 47      RETURN OF SERVICE executed as to Century Internationa
                            10/18/99. (AMENDED SUMMONS AND COMPLAINT) (fp)
                            [Entry date 12/29/99] [Edit date 12/29/99]

           12/28/99 47      RETURN OF SERVICE executed as to High Standard Manufa
                            10/19/99. (AMENDED COMPLAINT & SUMMONS) (fp)
                            [Entry date 12/29/99] [Edit date 12/29/99]

           12/28/99 47      RETURN OF SERVICE executed as to Laseraim Technologie,
                            Haskell, Inc. 10/20/99. (AMENDED COMPLAINT & SUMMONS) (fp)
                            [Entry date 12/29/99] [Edit date 12/29/99]

           12/28/99 47      RETURN OF SERVICE executed as to Quality Firearms, In
                            11/4/99. (AMENDED COMPLAINT & SUMMONS) (fp)
                            [Entry date 12/29/99] [Edit date 12/29/99]

           12/28/99 47      RETURN OF SERVICE executed as to Fort Worth Arms 11/9/99.
                            (AMENDED COMPLAINT & SUMMONS) (fp) [Entry date 12/29/99]
                            [Edit date 12/29/99]

           12/28/99 47      RETURN OF SERVICE executed as to Raven Arms, Inc. 11/8/99.
                            (AMENDED COMPLAINT & SUMMONS) (fp) [Entry date 12/29/99]
                            [Edit date 12/29/99]

           12/28/99 48      RETURN OF SERVICE executed as to Uberti Aldo, American
                            Arms, Inc. 10/14/99. (AMENDED COMPLAINT & SUMMONS) (fp)
                            [Entry date 12/29/99]

           12/28/99 48      RETURN OF SERVICE executed as to Ultra Light Arms, In
                            10/19/99. (AMENDED COMPLAINT & SUMMONS) (fp)
                            [Entry date 12/29/99]

           12/28/99 48      RETURN OF SERVICE executed as to Desert Mountain Manu
                            10/20/99. (AMENDED COMPLAINT & SUMMONS) (fp)


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                            [Entry date 12/29/99]

           12/28/99 48      RETURN OF SERVICE executed as to Arcadia Machine 11/2/99.
                            (AMENDED COMPLAINT & SUMMONS) (fp) [Entry date 12/29/99]

           12/28/99 48      RETURN OF SERVICE executed as to Rg Industries, Inc.
                            11/3/99. (AMENDED COMPLAINT & SUMMONS) (fp)



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                            [Entry date 12/29/99]

           12/28/99 49      RETURN OF SERVICE executed as to Braztech, Inc.,
                            Para-Ordnance Manufa, Taurus International, Navegar, Inc.,
                            Taurus Holdings, Inc 10/14/99. (AMENDED COMPLAINT &
                            SUMMONS) (fp) [Entry date 12/29/99]

           12/28/99 49      RETURN OF SERVICE executed as to Bryco Arms 11/3/99.
                            (AMENDED SUMMONS & COMPLAINT) (fp) [Entry date 12/29/99]

           12/28/99 50      RETURN OF SERVICE executed as to North American Arms
                            10/13/99 (Amended Summons and Complaint). (dg)
                            [Entry date 12/29/99]

           12/28/99 50      RETURN OF SERVICE executed as to Arms Technology, Inc
                            10/13/99. (Amended Summons and Complaint). (dg)
                            [Entry date 12/29/99]

           12/28/99 50      RETURN OF SERVICE executed as to L.A.R. Manufacturing
                            10/17/99 (Amended Summon and Complaint). (dg)
                            [Entry date 12/29/99]

           12/28/99 50      RETURN OF SERVICE executed as to Augusta Arms, Inc.
                            10/20/99 (Amended Summons and Complaint). (dg)
                            [Entry date 12/29/99]

           12/28/99 50      RETURN OF SERVICE executed as to Glock, Inc. 10/27/99
                            (Amended Summon and Complaint). (dg) [Entry date 12/29/99]

           12/28/99 50      RETURN OF SERVICE executed as to Ram-Line Corp. 11/26/99
                            (Amended Summon and Complaint). (dg) [Entry date 12/29/99]

           12/28/99 51      RETURN OF SERVICE executed as to A.A. Arms, Inc. 11/4/99
                            (Amended Summon and Complaint). (dg) [Entry date 12/29/99]

           12/28/99 51      RETURN OF SERVICE executed as to Safari Arms, Inc. 11/9/99
                            (Amended Summons and Complaint). (dg) [Entry date 12/29/99]

           12/28/99 51      RETURN OF SERVICE executed as to Harrington & Richard
                            12/15/99 (Amended Summon and Complaint). (dg)
                            [Entry date 12/29/99]



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           12/30/99 52      MOTION by Arms Technology, Inc, Century International Arms,
                            Inc., European American Armory, Eagle Imports, Freedom Arms
                            Co., Glick, Inc., H&R 1871, Inc., Beemiller, Inc. d/b/a
                            Hi-Point Firearms, Import Sports, Kel-Tec CNC Industries,
                            Inc., K.B.I., Inc., L.A.R. Manufacturing, Inc., Magnum
                            Research, Inc., Maverick Arms, Inc., North American Arms,
                            Savage Arms, Inc., SGS Imports and Thompson/Center Arms
                            for an order granting dfts motion to return this case to
                            the clerk of the court for assignment via the random
                            selection procedure. Motion hearing set for 10:00 1/27/00
                            [52-1] motion (fp) [Entry date 12/30/99]

           12/30/99 53      MEMORANDUM OF LAW by Arms Technology, Inc, et al in
                            support of [52-1] motion for an order granting dfts motion
                            to return this to the clerk of the court for assignment via



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                            the random selection procedure. (fp) [Entry date 12/30/99]

           12/30/99 54      STIPULATION and ORDER, the time for pltffs to oppose the
                            motion to dismiss of A.A. Arms, Inc is extended to 1/31/00.
                            . ( signed by Judge Jack B. Weinstein , on 12/29/99) (fp)
                            [Entry date 12/30/99]

           12/30/99 55      MOTION by Sigarms, Inc. to return the case to the clerk
                            of the court for assignment via the random selection method
                            . Motion hearing [55-1] motion. (fp) [Entry date 01/03/00]

           12/30/99 56      MOTION by Excel Industries to return the case to the clerk
                            of the court for assignment via the random selection
                            procedure. Motion hearing [56-1] motion. (fp)
                            [Entry date 01/03/00]

           12/30/99 57      ANSWER by Excel Industries to amended complaint; jury
                            demand (fp) [Entry date 01/03/00]

           12/30/99 58      ANSWER by Sigarms, Inc. to amended complaint; jury demand
                            (fp) [Entry date 01/03/00]

           12/30/99 59      Disclosure of interested parties by Sigarms, Inc. (fp)
                            [Entry date 01/03/00]

           12/30/99 60      ANSWER by Braztech, Inc. to amended complaint (fp)
                            [Entry date 01/03/00]

           12/30/99 61      ANSWER by Forjas Taurus, S.A. to amended complaint (fp)
                            [Entry date 01/03/00]

           12/30/99 62      ANSWER by Taurus Holdings, Inc to amended complaint (fp)
                            [Entry date 01/03/00]

           12/30/99 63      ANSWER by Taurus International to amended complaint (fp)
                            [Entry date 01/03/00]

           12/30/99 64      ANSWER by Heritage Manufacturi to amended complaint (fp)
                            [Entry date 01/03/00]


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           12/30/99 65      ANSWER by Colt's Manufacturing to amended complaint; jury
                            demand (fp) [Entry date 01/03/00]

           12/30/99 66      MOTION by Colt's Manufacturing to return this case to the
                            clerk of the court for assignment via the random selection
                            procedure. Motion hearing [66-1] motion (fp)
                            [Entry date 01/03/00]

           12/30/99 67      ANSWER by Cz Usa to amended complaint; jury demand (fp)
                            [Entry date 01/03/00]

           12/30/99 68      MOTION by Cz Usa to return this case to the clerk of the
                            court for assignment via the random selection procedure.
                            Motion hearing [68-1] motion (fp) [Entry date 01/03/00]

           12/30/99 69      ANSWER by Phoenix Arms, Inc. to amended complaint; jury
                            demand (fp) [Entry date 01/03/00]



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           12/30/99 70      ANSWER by Weatherby, Inc. to amended complaint; jury demand
                            (fp) [Entry date 01/03/00]

           12/30/99 71      NOTICE of attorney appearance for Weatherby, Inc.                      by
                            Douglas C. Conroy. (fp) [Entry date 01/03/00]

           12/30/99 72      Disclosure of interested parties by Weatherby, Inc. (fp)
                            [Entry date 01/03/00]

           12/30/99 73      MOTION by Weatherby, Inc. to return this case to the clerk
                            of the court for assignment via the random selection
                            procedure. Motion hearing [73-1] motion. (fp)
                            [Entry date 01/03/00]

           12/30/99 78      ANSWER by Heckler & Koch, Inc. to amended complaint; jury
                            demand (fp) [Entry date 01/03/00]

           12/30/99 79      Disclosure of interested parties by Heckler & Koch, GmbH (fp)
                            [Entry date 01/03/00]

           1/3/00   74      ORDER, Motion of various dfts to return this case to the
                            clerk for assignment via the random selection procedure is
                            referred to Judge Nickerson, assignment judge. ( Endorsed
                            by Judge Jack B. Weinstein , on 12/30/99 on letter dated
                            12/30/99 from Leonard Rosenbaum to Judge Weinstein) (fp)
                            [Entry date 01/03/00]

           1/3/00   75      LETTER   dated 12/29/99 from Robert L. Joyce to the Court,
                            enclosing copies of documents for filing by Sigarms, Inc.
                            (fp) [Entry date 01/03/00]

           1/3/00   76      ANSWER by Remington Arms Compa to amended complaint; jury
                            demand (fp) [Entry date 01/03/00]

           1/3/00   77      Disclosure of interested parties by Remington Arms Compa (fp)


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                            [Entry date 01/03/00]

           1/4/00   80      Disclosure of interested parties by Bryco Arms, B.L.
                            Jennings, Inc. (fp) [Entry date 01/04/00]

           1/4/00   81      ANSWER by Sturm, Ruger & Compa to amended complaint; jury
                            demand (fp) [Entry date 01/04/00] [Edit date 02/08/00]

           1/4/00   82      MOTION by Sturm, Ruger & Compa to return this case to the
                            clerk of court for assignment via the random selection
                            procedure. Motion hearing [82-1] motion (fp)
                            [Entry date 01/04/00]

           1/4/00   83      ANSWER by Smith & Wesson Corpo to amended complaint; jury
                            demand (fp) [Entry date 01/04/00]

           1/4/00   84      ANSWER by Bruce Jennings, Bryco Arms, B.L. Jennings, Inc.
                            to amended complaint; jury demand (fp) [Entry date 01/04/00]

           1/4/00   85      NOTICE of attorney appearance for Sturm, Ruger & Compa                        by
                            Anne Giddings Kimball, James P. Dorr. (fp)



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                            [Entry date 01/04/00] [Edit date 01/04/00]

           1/4/00   86      ANSWER by Thompson/Center Arms, Sgs Imports Internat,
                            Savage Arms, Inc., Para-Ordnance, Inc., North American
                            Arms, Navegar, Inc., Maverick Arms, Inc., Magnum Research
                            Inc., L.A.R. Manufacturing, Kel-Tec Cnc Industri, K.B.I.
                            Inc., Israel Military Indu, Import Sports Corp., H&R 1871,
                            Inc., Freedom Arms, Inc., European American Ar, Eagle
                            Imports, Century Internationa, Arms Technology, Inc, Glock,
                            Inc., BeeMiller, Inc., Browning Arms Co., to amended
                            complaint; jury demand (fp) [Entry date 01/05/00]

           1/4/00   87      MOTION by Remington Arms Compa to return the case to the
                            the clerk of the court for assignment via the random
                            selection procedure. Motion hearing [87-1] motion (fp)
                            [Entry date 01/05/00]

           1/4/00   88      Disclosure of interested parties by Cz Usa (fp)
                            [Entry date 01/05/00]

           1/4/00   89      Disclosure of interested parties by Colt's Manufacturing (fp)
                            [Entry date 01/05/00] [Edit date 02/08/00]

           1/4/00   90      ANSWER to Complaint by Sylvia Daniel; jury demand (fp)
                            [Entry date 01/05/00]

           1/5/00   91      Disclosure of interested parties by Smith & Wesson Corpo,
                            Sturm, Ruger & Compa. (fp) [Entry date 01/05/00]



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           1/7/00   92      ORDER, denying [82-1] motion to return this case to the
                            clerk of court for assignment via the random selection
                            procedure, denying [87-1] motion to return the case to the
                            the clerk of the court for assignment via the random
                            selection procedure, denying [52-1] motion for an order
                            granting dfts motion to return this case to the clerk of
                            the court for assignment via the random selection
                            procedure, denying [73-1] motion to return this case to the
                            clerk of the court for assignment via the random selection
                            procedure, denying [68-1] motion to return this case to the
                            clerk of the court for assignment via the random selection
                            procedure, denying [66-1] motion to return this case to the
                            clerk of the court for assignment via the random selection
                            procedure, denying [56-1] motion to return the case to the
                            clerk of the court for assignment via the random selection
                            procedure, denying [55-1] motion to return the case to the
                            clerk of the court for assignment via the random selection
                            method ( signed by Judge Eugene H. Nickerson on 1/3/00)
                            (ENDORSED ON COPY OF MOTION) (fp) [Entry date 01/07/00]

           1/7/00   93      LETTER   dated 12/23/99 from Karen M. Kohn to Judge
                            Weinstein, pltffs request an enlargment of time for the
                            pltffs to file a response to dft Felk Inc's answer/motion
                            to dismiss to 1/31/00. (fp) [Entry date 01/07/00]

           1/7/00   --      Endorsed order, pltffs granted an extension until 1/31/00
                            to file a response to dft Felk Inc's answer/motion to
                            dismiss. ( Signed by Judge Jack B. Weinstein , on



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                            12/26/99)(endorsed on letter, document #93) (fp)
                            [Entry date 01/07/00]

           1/7/00    94     MOTION by Heckler & Koch, Inc. to return the case to the
                            clerk of the court for assignment via the random selection
                            procedure. Motion hearing [94-1] motion. (fp)
                            [Entry date 01/10/00]

           1/10/00   95     ANSWER by Calico Light Weapon to amended complaint; jury
                            demand (fp) [Entry date 01/11/00]

           1/10/00   96     Disclosure of interested parties by Calico Light Weapon (fp)
                            [Entry date 01/11/00]

           1/10/00   97     CERTIFICATE OF SERVICE by Frances G. Tracy, RE: Calico Light
                            Weapons Systems, Inc. Answer to pltff's first amended
                            complaint by mail on 1/6/00 upon counsel. (fp)
                            [Entry date 01/11/00] [Edit date 02/08/00]

           1/11/00   98     RETURN OF SERVICE executed as to Quality Firearms, In
                            1/6/00. (SUMMONS AND COMPLAINT, AMENDED SUMMONS AND
                            COMPLAINT) (fp) [Entry date 01/12/00]

           1/11/00   98     RETURN OF SERVICE executed as to Mitchell Arms, Inc.
                            1/7/00. (COMPLAINT AND SUMMONS AND AMENDED COMPLAINT AND
                            AMENDED SUMMONS) (fp) [Entry date 01/12/00]


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           1/11/00   98     RETURN OF SERVICE executed as to Mitchell Arms, Inc.
                            1/10/00. (AMENDED SUMMONS AND COMPLAINT) (fp)
                            [Entry date 01/12/00]

           1/13/00   99     Disclosure of interested parties by Taurus International,
                            Taurus Holdings, Inc, Forjas Taurus, S.A., Braztech, Inc.,
                            Heritage Manufacturi (fp) [Entry date 01/14/00]

           1/14/00   100    Disclosure of interested parties by Excel Industries (fp)
                            [Entry date 01/19/00]

           1/18/00   111    MOTION by Sti International for William H. Connor to
                            appear pro hac vice, Motion hearing [111-1] motion (fp)
                            [Entry date 01/26/00]

           1/19/00   101    MOTION by Forjas Taurus, S.A., Taurus International, Taurus
                            Holdings, Inc, Heritage Manufacturi, Braztech, Inc. for
                            Timothy A. Bumann to appear pro hac vice, Motion hearing
                            [101-1] motion (fp) [Entry date 01/19/00]

           1/19/00   102    AFFIDAVIT of Timothy A. Bumann Re: In support of [101-1]
                            motion for Timothy A. Bumann to appear pro hac vice (fp)
                            [Entry date 01/19/00]

           1/19/00   103    AFFIDAVIT of David R. Gross Re: In support of [101-1]
                            motion for Timothy A. Bumann to appear pro hac vice (fp)
                            [Entry date 01/19/00]

           1/19/00   104    ORDER, granting [101-1] motion for Timothy A. Bumann to
                            appear pro hac vice ( signed by Magistrate Cheryl L. Pollak



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                            ,   on 1/13/00) (fp) [Entry date 01/19/00]

           1/19/00   105    CERTIFICATE OF SERVICE by David R. Gross, RE: Motion for
                            Pro Hac Vice, Affidavit of David Gross and Timothy A.
                            Bumann, Proposed Order and Certificate of Service via
                            federal express up Mag. Pollak's chambers. (fp)
                            [Entry date 01/19/00]

           1/19/00   106    ORDER, Dft's shall answer or move to dismiss the complaints
                            on or before 2/15/00. Pltff's response to any motions
                            shall be served by 3/7/00. Replies are due 3/15/00.
                            Discovery is stayed in the interim in accordance with the
                            order of the district court. ( signed by Magistrate Cheryl
                            L. Pollak , ) (fp) [Entry date 01/19/00]

           1/20/00   107    LETTER   dated 1/14/00 from John C. Barney to Perry Weitz,
                            advising the court that this office is not a registered
                            agent or addressee for the service of process on any
                            california corporation named Mitchell Arms, Inc. (fp)
                            [Entry date 01/20/00]



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           1/20/00   108    ORDER, pltff voluntarily dismiss without prejudice the
                            action against dft Advance Group Ltd. doing business as
                            American Firearms Technologies. ( signed by Judge Jack B.
                            Weinstein , on 1/18/00) (SO ORDERED ON NOTICE OF DISMISSAL)
                            (fp) [Entry date 01/20/00]

           1/20/00   109    ORDER, pltff voluntarily dismiss without prejudice the
                            action against dft R & G Industries, Inc.. ( signed by
                            Judge Jack B. Weinstein , on 1/18/00) (SO ORDERED ON
                            NOTICE OF DISMISSAL) (fp) [Entry date 01/20/00]

           1/21/00   110    LETTER   dated 1/11/00 from Karen M. Kohn to Judge
                            Weinstein, enclosing letter rogatory's to be signed and
                            certified. (fp) [Entry date 01/24/00]

           1/24/00   --     Endorsed order, respectfully referred to the clerk of the
                            court. Orders are signed. ( Signed by Judge Jack B.
                            Weinstein , on 1/17/00) (endorsed on letter, document
                            #110) (fp) [Entry date 01/24/00]

           1/26/00   --     Endorsed order granting [111-1] motion for William H.
                            Connor to appear pro hac vice. ( Signed by Judge Jack B.
                            Weinstein on 1/20/00) (endorsed on motion, document #111)
                            (fp) [Entry date 01/26/00]

           1/26/00   112    AFFIDAVIT OF SERVICE by Veral Sullivan Re: On 10/19/99, Re:
                            Amended Summons and Complain on High Standard Manufacturing
                            by hand. (fp) [Entry date 01/27/00]

           1/26/00   113    LETTER   dated 1/17/00 from Brian Zietman to Clerk of the
                            Court, attaching documents concerning the request for
                            service of documents. (fp) [Entry date 02/02/00]

           1/28/00   117    MOTION by Excel Industries for Steven A. Silver, Esq. to
                            appear pro hac vice. (Fee paid, receipt # 228020) (clp)
                            [Entry date 02/14/00]



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           2/3/00    115    CERTIFICATE OF SERVICE by Elisa Barnes by Karen Kohn, Re:
                            Order by Mag. Pollak, document #114 by first class mail on
                            1/31/00 upon all domestic dfts and/or their counsel. (fp)
                            [Entry date 02/04/00]

           2/4/00    114    ORDER, Dft's shall either answer or move to dismiss the
                            complaints on or before 2/15/00. Pltff's response to any
                            motions shall be served by 3/7/00. Replies are due
                            3/15/00. Discovery is stayed in the interim in accordance
                            with the order of the District Court. ( signed by
                            Magistrate Cheryl L. Pollak , ) (fp) [Entry date 02/04/00]

           2/9/00    125    MOTION by Bruce Jennings, Bryco Arms, B.L. Jennings, Inc.
                            for James Clifford Sabalos to appear pro hac vice,
                            Motion hearing [125-1] motion (fp) [Entry date 02/22/00]

           2/10/00   116    ANSWER to Complaint by Navy Arms, Inc.; jury demand. (rg)


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                            [Entry date 02/11/00]

           2/14/00   --     Endorsed order granting [117-1] motion for Steven A.
                            Silver, Esq. to appear pro hac vice. Endorsed by Judge Jack
                            B. Weinstein , on 2/1/00 on the face of Notice of Motion.
                            (Doc. # 117) (clp) [Entry date 02/14/00]

           2/14/00   118    ANSWER to amended complaint by Jim L. Davis, President,
                            Republic Arms. (15167 Sierra Bonita Lane, Chino,
                            California 91710) (fp) [Entry date 02/16/00]

           2/16/00   119    STIPULATION and ORDER, all deadlines set forth in this
                            court's 1/21/00 order are stayed until 3/14/00. ( signed by
                            Judge Jack B. Weinstein , ) (fp) [Entry date 02/16/00]

           2/16/00   120    ANSWER by Sigarms/Sauer to amended complaint; jury demand
                            (fp) [Entry date 02/17/00]

           2/16/00   121    ANSWER by Hammerli Ltd. to amended complaint; jury demand
                            (fp) [Entry date 02/17/00]

           2/17/00   122    MOTION by Bruce Jennings to dismiss the action. Motion
                            hearing [122-1] motion set for 3/31/00 at 9:30 (fp)
                            [Entry date 02/17/00] [Edit date 02/25/00]

           2/17/00   123    MEMORANDUM OF LAW by Bruce Jennings in support of [122-1]
                            motion to dismiss the action. (fp) [Entry date 02/17/00]

           2/18/00   124    STIPULATION and ORDER, the action is discontinued only as
                            to Stoeger Industries, Inc., with prejudice and without
                            costs or fees. ( signed by Judge Jack B. Weinstein , on
                            2/15/00) c/m (fp) [Entry date 02/18/00]

           2/22/00   --     Endorsed order granting [125-1] motion for James Clifford
                            Sabalos to appear pro hac vice ( Signed by Judge Jack B.
                            Weinstein ,   on 2/14/00) (endorsed on motion, document
                            #125) (fp) [Entry date 02/22/00] [Edit date 02/22/00]

           2/22/00   126    ANSWER by Bond Arms, Inc. to amended complaint; jury demand



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                            (fp) [Entry date 02/23/00]

           2/22/00   127    Disclosure of interested parties by Bond Arms, Inc. (fp)
                            [Entry date 02/23/00]

           2/24/00   128    AMENDED RETURN OF SERVICE executed as to International
                            Armame, Heckler & Koch, Inc. 2/2/00 (fp)
                            [Entry date 02/25/00]

           2/28/00   129    LETTER   dated 2/18/00 from David R. Gross to Elisa
                            Barnes, requesting a response of the request to dismiss the
                            complaints. (fp) [Entry date 02/28/00]



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           3/9/00    130    MEMORANDUM OF LAW by National Association, National Spinal
                            Cord in opposition to dft Bruce Jennings [122-1] motion to
                            dismiss the action. (fp) [Entry date 03/09/00]

           3/9/00    131    MEMORANDUM by National Association, National Spinal Cord
                            in opposition to dft's Felk Incorporated, A.A. Arms, Inc.,
                            and STI International Inc., Motions to Dismiss. (fp)
                            [Entry date 03/09/00]

           3/10/00   132    AFFIDAVIT AND DECLARATION by Dr. Ing. Dirk A. Lindenbeck,
                            President of A.A. Arms, Inc. Re: In support of Motion to
                            Dismiss. (fp) [Entry date 03/10/00]

           3/10/00   133    ANSWER by Tanfoglio Fratelli S to first amended complaint;
                            jury demand (fp) [Entry date 03/10/00]

           3/13/00   134    ANSWER by Olympic Arms, Inc., Safari Arms, Inc., Sgw
                            Enterprises, Inc to amended complaint; jury demand (fp)
                            [Entry date 03/13/00]

           3/14/00   135    ORDER, the law firm Bartlett McDonough Bastone & Monahan
                            shall be substituted as counsel of record for dfts Olympic
                            Arms, Inc., Safari Arms Corp. and SGW, Inc. and shall
                            replace as counsel O'Melveny & Myers LLP . ( signed by
                            Judge Jack B. Weinstein , on 3/6/00) (fp)
                            [Entry date 03/14/00]

           3/14/00   136    CERTIFICATE OF SERVICE by Karen Kohn, RE: Memorandum of Law
                            on behalf of pltffs in opposition to dft's Felk
                            Incorporated, A.A. Arms, Inc and STI International Inc.
                            Motions to Dismiss and Memorandum on behalf of pltff's in
                            opposition to Bruce Jenning's Motion to Dismiss on all dfts
                            and/or their counsel on 3/7/00 by first class mail. "All
                            motions will be heard 4/3/00 at 10:00. The motion filed by
                            Bruce Jennings is now scheduledfor 3/31/00, it is adjourned
                            to 4/3/00 at 10:00. Pltff's counsel is to advise all
                            parties of this hearing. (fp) [Entry date 03/14/00]
                            [Edit date 03/14/00]

           3/14/00   137    LETTER   dated 3/9/00 from Fred E. Scharf to Elisa Barnes,
                            pltffs agreed to grant an additional week, to 3/22/00 for
                            dft Jennings to respond to the NAACP opposition papers. (fp)
                            [Entry date 03/14/00]




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           3/15/00   138    NOTICE of Dismissal without prejudice by pltffs as to dft
                            A.A. Arms, Inc. (fp) [Entry date 03/17/00]

           3/22/00   139    LETTER   dated 3/15/00 from John Lenkey III (President) to
                            Judge Weinstein, declining to appear for oral arguments and
                            requesting immediate dismissal. (fp) [Entry date 03/22/00]

           3/23/00   140    REPLY MEMORANDUM OF LAW by Bruce Jennings in further
                            support of [122-1] motion to dismiss the action. (lr)
                            [Entry date 03/24/00]


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           3/23/00   141    AFFIDAVIT by James Clifford Sabalos on behalf of Bruce
                            Jennings. (lr) [Entry date 03/24/00]

           3/24/00   142    MEMORANDUM OF LAW by Rohm GmbH in support of motion to
                            dismiss complaint. (fp) [Entry date 03/28/00]

           3/30/00   143    ANSWER by Heckler & Koch, GmbH to first amended complaint;
                            Jury Demand (fp) [Entry date 03/31/00]

           4/5/00    144    LETTER   dated 3/21/00 from          James Clifford Sabalos to
                            Judge Weinstein, confirming          that the hearing set on 4/3/00
                            on the motion to dismiss of          dft Bruce Jennings has been
                            reset for 5/10/00 at 10:00.          (fp) [Entry date 04/05/00]

           4/5/00    --     Endorsed order, Approved. The hearing on the Motion to
                            Dismiss of Dft Bruce Jennings has been reset for 5/10/00 at
                            10:00. ( Signed by Judge Jack B. Weinstein , on 3/24/00)
                            c/m (endorsed on letter, document #144) (fp)
                            [Entry date 04/05/00]

           4/5/00    145    NOTICE dated 4/4/00 by June P. Lowe, that the motions
                            scheduled for 4/25/00 has been adjourned to 5/10/00 at
                            10:00. Faxed. (fp) [Entry date 04/05/00]

           4/11/00   146    NOTICE of voluntary dismissal without prejudice against dft
                            Quality Firearms. (fp) [Entry date 04/12/00]

           4/11/00   147    AFFIDAVIT OF SERVICE by Cheryl Cooper Re: [143-1]
                            complaint answer on 4/10/00 by mail upon counsel. (fp)
                            [Entry date 04/12/00]

           4/13/00   148    ORDER, A Status Conference has been scheduled for 5/10/00
                            at 12:30 before Mag. Pollak. ( signed by Magistrate Cheryl
                            L. Pollak , on 4/11/00) (fp) [Entry date 04/13/00]

           4/17/00   149    ORDER, granting the motion by dft Heckler & Koch, for an
                            order permitting Charles L. Coleman III to appear pro hac
                            vice. ( signed by Judge Jack B. Weinstein , on 4/7/00) c/m
                            (fp) [Entry date 04/17/00]

           4/17/00   150    LETTER   dated 4.12.2000 from Elisa Barnes to Defense
                            Counsel advising the status conference before Magistrate
                            Poallk is set for 5.10.2000 @ 12:30 (dm)
                            [Entry date 04/17/00]

           4/19/00   151    AFFIDAVIT OF SERVICE by Cheryl Cooper Re: [143-1] answer of



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                            dft Heckler & Koch, GMBH to amended complaint by mail on
                            4/17/00 upon counsel. (fp) [Entry date 04/20/00]

           4/21/00   152    LETTER   dated 4/12/00 from Elisa Barnes to Defense
                            Counsel, advising that a status conference will be held on
                            5/10/00 at 12:30 before Mag. Pollak and oral argument is on
                            motions on 5/10/00 at 10:00 before Judge Weinstein. (fp)


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                            [Entry date 04/21/00]

           4/24/00   153    ANSWER by Sti International to amended complaint (fp)
                            [Entry date 04/25/00]

           4/24/00   154    Rule 26(s) Initial Disclosures on behalf by Sti
                            International (fp) [Entry date 04/25/00]

           4/24/00   155    NOTICE of Withdrawal of Motion to Dismiss by Sti
                            International. (fp) [Entry date 04/25/00]

           4/24/00   156    CERTIFICATE OF SERVICE by W.H. Connor of the Answer of STI
                            International, Inc. to First Amended Complaint, Rule 26(a)
                            Initial Disclosures, Notice of Withdrawal of Motion to
                            Dismiss on 4/19/00 by mail on all dfts and pltffs. (fp)
                            [Entry date 04/25/00]

           4/25/00   157    ANSWER by Para-Ordnance Manufa to amended complaint; jury
                            demand (fp) [Entry date 04/25/00]

           4/28/00   158    ANSWER to Complaint by Fabrica D'Armi Pietro Beretta.
                            [Forwarded to Magistrate Pollak on 4.28.2000 by interoffice
                            mail.] (dm) [Entry date 04/28/00]

           4/28/00   159    Endorsed ORDER: referred to Clerk of Court. ( signed by
                            Judge Jack B. Weinstein , on 4.27.2000) See Affidavit of
                            Elisa Barnes in support of motion for default judgment for
                            the order. [Attached are exhibits A-Z.] (dm)
                            [Entry date 04/28/00]

           5/1/00    160    ANSWER by Charco 2000, Inc., International Armame, L.W.
                            Seecamp Co., Uberti Usa, Inc. to amended complaint; jury
                            demand (fp) [Entry date 05/02/00]

           5/1/00    170    LETTER   dated 4/26/00 from A. Shelby Easterly, III to
                            Elisa Barnes, enclosing a copy of the letter of 3/10/00 to
                            Mr. Richard Akel with a copy of the Notice of Dismissal
                            prejudice dated 4/11/00. (fp) [Entry date 05/08/00]

           5/2/00    161    NOTICE of attorney appearance for Charco 2000, Inc.,
                            International Armame, L.W. Seecamp Co., Uberti Usa, Inc.
                            by Michael P. Kandler (fp) [Entry date 05/03/00]

           5/3/00    162    ANSWER by American Arms, Inc. to amended complaint (fp)
                            [Entry date 05/04/00]

           5/3/00    165    LETTER   dated 5/3/00 from A. Shelby Easterly, III to
                            Robert C. Heinemann, enclosing a copy of pltff's notice of
                            dismissal against Qualify Firearms. (fp)
                            [Entry date 05/05/00]



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           5/3/00    168    Disclosure of interested parties by American Arms, Inc. (fp)
                            [Entry date 05/08/00]



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           5/4/00    163    STIPULATION and ORDER, the time for dfts ROHM Gmbh and
                            Veba AG to answer the complaint is extended to 7/2/00 . (
                            signed by Judge Jack B. Weinstein , on 5/3/00) (fp)
                            [Entry date 05/04/00]

           5/4/00    169    LETTER   dated 4/30/00 from Don Mitchell to Clerk of the
                            Court, advising that dft Mithcell Arms Corp is not evading
                            service of the conmplaint. (fp) [Entry date 05/08/00]

           5/5/00    164    LETTER   dated 5/3/00 from Elisa Barnes to Mark Catlett,
                            advising that pltffs are withdrawing Laseraim from the
                            default motion. (fp) [Entry date 05/05/00]

           5/5/00    166    LETTER returning the request for judicial assistance. (fp)
                            [Entry date 05/05/00]

           5/5/00    167    LETTER   dated 4/19/00 from W.H. Connor to Judge
                            Weinstein, withdrawing the motion to dismiss on behalf of
                            STI International, Inc. (fp) [Entry date 05/05/00]

           5/5/00    --     Endorsed order, approving dft's request to withdraw the
                            motion to dismiss. ( Signed by Judge Jack B. Weinstein , on
                            4/27/00) (endorsed on letter, document #167) (fp)
                            [Entry date 05/05/00]

           5/9/00    171    LETTER   dated 5/4/00 from Elisa Barnes to A. Shelby
                            Easterly, III, advising the court that there is no reason
                            for entry of default against Quality Firearms since a
                            stiplation of discontiuance was filed. (fp)
                            [Entry date 05/09/00]

           5/9/00    172    LETTER     dated 5/4/00 from Thomas E. Healy to Elisa
                            Barnes,   advising counsel that dft Colt's Manufacturing
                            Company   has answered the first amended complaint and a
                            request   is made to plaintiff to withdraw the default motion
                            against   dft Colt's Manufacturing. (fp) [Entry date 05/09/00]

           5/9/00    201    ANSWER by Haskell MFG., Inc's Sued here as Haskell Company
                            to amended complaint (fp) [Entry date 06/08/00]

           5/10/00   178    Calendar entry: Before Mag. Pollak on 5/10/00 for a
                            Conference. Pltff's to serve class certification motions
                            by 5/30. Dft's response 6/30; Reply July 14. Dfts wishing
                            to file motions contesting adequacy of service shall serve
                            papers by 6/16; Response 6/30; Reply 7/14. Dfts claiming
                            deminimis contacts or lack of personal jurisdiction shall
                            notify pltffs by 5/19. Pltff's to consider claims and
                            respond by 6/23. Pltff's to notify court and counsel by
                            7/7 regarding discovery on issues of personal jurisdiction
                            conference 9/22 at 10:00. (fp) [Entry date 05/15/00]




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           5/10/00   179    Calendar entry: Before Judge Weinstein on 5/10/00 for a
                            Motion Hearing. Bruce Jennings [122-1] motion to dismiss
                            the complaint is granted. Motion by STI is withdrawn.
                            Motion by Felk is denied. Stay of all proceedings is
                            denied. Respectfully referred to Mag. Judge for control of
                            discovery. (fp) [Entry date 05/16/00]

           5/11/00   173    LETTER   dated 5/10/00 from Jamie Johnston to Denise M.
                            Dunleavy, Esq., confirming the agreement that we would not
                            need to attend the scheduling conference on 5/10/00 at
                            12:30. (fp) [Entry date 05/11/00]

           5/11/00   174    LETTER   dated 5/3/00 from John S. Kanzler to Elisa
                            Barnes, requesting in writing that pltff's will withdraw
                            the motion for default against Hi-Point, SGS, Harrington &
                            Richardson and Haskell. (fp) [Entry date 05/11/00]

           5/11/00   176    ANSWER by American Derringer to amended complaint; jury
                            demand (fp) [Entry date 05/12/00]

           5/12/00   175    TRANSCRIPT of Conference before Judge Weinstein filed for
                            dates of 5/10/00. (fp) [Entry date 05/12/00]

           5/12/00   177    LETTER   dated 5/5/00 from Elisa Barnes to Judge
                            Weinstein, requesting that pltffs be permitted to withdraw
                            the motion for default against certain dfts without
                            prejudice and with leave to renew within the next 30 days.
                            (fp) [Entry date 05/12/00]

           5/12/00   --     Endorsed order, granting pltff's request to withdraw the
                            motion for default against certain dfts with leave to renew
                            within the next 30 days. ( Signed by Judge Jack B.
                            Weinstein , on 5/5/00) c/m (endorsed on letter, document
                            #177) (fp) [Entry date 05/12/00]

           5/16/00   180    TRANSCRIPT of Conference before Judge Weinstein filed for
                            dates of 5/10/00. (fp) [Entry date 05/16/00]

           5/16/00   181    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Certain
                            Dft's First Request for Produciton of Document to National
                            Associaton for the Advancement of Colored People upon
                            pltff's counsel by hand delivery and all other counsel of
                            record by mail on 5/10/00. (fp) [Entry date 05/17/00]

           5/16/00   182    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Certain
                            Dft's First Request for Production of Documents to National
                            Spinal Cord Injury Association upon pltff's counsel by hand
                            delivery and all other counsel of record by U.S. Mail on
                            5/10/00. (fp) [Entry date 05/17/00]

           5/16/00   183    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Certain
                            Dft's First Request for Admissions to Pltff National Spinal
                            Cord Injury Association upon Pltff's counsel and all other
                            counsel of record by U.S. Mail on 5/10/00. (fp)


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                            [Entry date 05/17/00]

           5/16/00   184    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Taurus
                            Holdings Inc.'s First Set of Interrogatories to pltff
                            National Association for the Advancement of Colored People
                            upon pltff's counsel by hand delivery and all other counsel
                            or record by U.S. Mail on 5/10/00. (fp)
                            [Entry date 05/17/00]

           5/16/00   185    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Taurus
                            Holdings Inc's First Set of Interrogatories to Pltff
                            National Spinal Cord Association upon pltff's counsel and
                            all other counsel of record by U.S. Mail on 5/10/00. (fp)
                            [Entry date 05/17/00]

           5/16/00   186    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Heritage
                            Manufacturing, Inc's First Set of Interrogatories to Pltff
                            National Spinal Cord Association upon pltff's counsel and
                            all other counsel of record by U.S. Mail on 5/10/00. (fp)
                            [Entry date 05/17/00]

           5/16/00   187    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Certain
                            Dft's First Request for Admissions to Pltff National
                            Association for Advancement of Colored People upon Pltff's
                            counsel by hand delivery and all other counsel of record by
                            U.S. Mail on 5/10/00. (fp) [Entry date 05/17/00]

           5/16/00   188    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Heritage
                            Manufactuing, Inc's First Set of Interrogatories to Pltff
                            National Association for the Advancement of Colored People
                            upon pltff's counsel by hand delivery and all other counsel
                            of record by U.S. Mail on 5/10/00. (fp)
                            [Entry date 05/17/00]

           5/17/00   189    LETTER   dated 5/3/00 from Elisa Barnes to Mark Catlett,
                            President of Laseraim Technologies, Inc., withdrawing
                            Laseraim Technologies, Inc. from the default motion. (fp)
                            [Entry date 05/17/00]

           5/17/00   --     Endorsed order, granting the request to withdraw Laseraim
                            from the default motion. ( Signed by Judge Jack B.
                            Weinstein , on 5/5/00) (endorsed on letter, document #189)
                            (fp) [Entry date 05/17/00]

           5/18/00   190    ANSWER by Felk Incorporated by John Lenkey, President of
                            Felk Inc to amended complaint. (Address 2121 Castlebridge
                            Road, Midlothian, VA 23113) (804) 794-3744. (fp)
                            [Entry date 05/18/00]

           5/19/00   191    STIPULATION and ORDER, substituting attorney terminated
                            attorney James P. Dorr for Smith & Wesson Corpo Added Gary
                            R. Long, Joel M. Cohen ( signed by Judge Jack B. Weinstein
                            , on 5/10/00) c/m (fp) [Entry date 05/19/00]



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           5/23/00   192    AFFIDAVIT OF SERVICE by Joel M. Cohen                Re: Stipulation and



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                            Order of Substitution of Counsel by mail on 5/22/00 upon
                            counsel. (fp) [Entry date 05/24/00]

           5/23/00   193     MOTION by Smith & Wesson Corpo for Jeffrey S. Nelson to
                            appear pro hac vice, Motion hearing [193-1] motion and (fp)
                            [Entry date 05/30/00]

           5/23/00   194    AFFIDAVIT of Joel M. Cohen Re: In support of [193-1]
                            motion for Jeffrey S. Nelson to appear pro hac vice (fp)
                            [Entry date 05/30/00]

           5/23/00   196     MOTION by Smith & Wesson Corpo for Gary R. Long to appear
                            pro hac vice, Motion hearing [196-1] motion and (fp)
                            [Entry date 05/30/00]

           5/23/00   197    AFFIDAVIT of Joel M. Cohen Re: In support of [196-1]
                            motion for Gary R. Long to appear pro hac vice (fp)
                            [Entry date 05/30/00]

           5/30/00   195    ORDER, granting [193-1] motion for Jeffrey S. Nelson to
                            appear pro hac vice ( signed by Judge Jack B. Weinstein ,
                            on 5/24/00) c/m (fp) [Entry date 05/30/00]

           5/30/00   198    ORDER   granting [196-1] motion for Gary R. Long to appear
                            pro hac vice ( signed by Judge Jack B. Weinstein ,   on
                            5/24/00) (fp) [Entry date 05/30/00]

           6/5/00    --     ORDER dated 6/1/2000 that pltff's motion in 99CV7037
                            seeking certification of a deft class action is deferred;
                            defts to move to dismiss; motion to be filed by 6/30/2000.
                            (filed in 99CV7037, document #11). (Signed by Judge Jack
                            B. Weinstein). (lg) [Entry date 06/05/00]

           6/7/00    199    ORDER that the motion to dismiss by Bruce Jennings is
                            granted; and further Ordered tht the motion by defendant
                            Felk, Inc. is denied.   Signed by Judge Jack B. Weinstein,
                            on 5/16/00. (see ce for 5/10/00) (tl)
                            [Entry date 06/07/00]

           6/8/00    200    UNSIGNED Order dtd. 5/19/2000   Alternate order signed. (rj)
                            [Entry date 06/08/00] [Edit date 06/08/00]

           6/14/00   202    ORDER Deferred [10-1] motion for certifying a defts class
                            in this matter. Before considering this motion, the court
                            directs deft's to move to dismiss for failure to state a
                            claim, for lack of standing, and on such other grounds as
                            they deem appropriate, These motions should be filed by
                            June ( signed by Judge Jack B. Weinstein , on 6/1/2000) (rj)
                            [Entry date 06/14/00]

           6/16/00   203    REQUEST for International Judicial Assistance (Letter
                            Rogatory) (fp) [Entry date 06/19/00]



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           6/26/00   204    ORDER stating that the court shall set a hearing for motion
                            of dismissal by deft Felk Inc. ( signed by Judge Jack B.
                            Weinstein , on 6/22/00)(endorsed on "Prayer for
                            dismissal"). (dd) [Entry date 06/26/00]



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           6/27/00   --     LETTER dated 6/14/00 from John S. Kanzler to Elisa Barnes,
                            enclosing a copy of dft's letter to Judge Weinstein which
                            was recently sent to counsel on 6/12/00. (DOCUMENT FILED
                            ONLY IN 99 CV 7037, document #15) (fp) [Entry date 06/27/00]

           6/27/00   205    NOTICE of attorney appearance for Walther GmbH                    by Daniel
                            J. O'Neill (fp) [Entry date 06/28/00]

           6/30/00   206    LETTER   dated 6/26/00 from Elisa Barnes to Mag. Pollak,
                            correcting the statement in the previous stating that High
                            Standard no longer manufactures pistols. High Standard
                            does in fact still manufacture. (fp) [Entry date 06/30/00]

           7/6/00    207    RETURN OF SERVICE executed as to Israel Military Indu
                            12/26/99. (AMENDED SUMMONS AND COMPLAINT) (fp)
                            [Entry date 07/07/00]

           7/7/00    208    LETTER   dated 6/30/00 from Elisa Barnes to John Lenkey
                            III, withdrawing the offer of a settlement and will proceed
                            with discovery as against Felk Inc. (fp)
                            [Entry date 07/07/00]

           7/7/00    209    LETTER   dated 6/29/00 from Richard L. Mattiaccio to Mag.
                            Pollak, advising the court that counsel will pursue all the
                            affirmative defenses asserted in the answer filed on behalf
                            of Beretta S.p.A., including lack of jurisdiction and
                            failure to join an indispensable party. (fp)
                            [Entry date 07/07/00]

           7/11/00   210    LETTER   dated 6/23/00 from Elisa Barnes to Mag. Pollak,
                            pltffs request to go forward with general discovery against
                            all dfts except those eight to whom will offer stipulations
                            of settlement. (fp) [Entry date 07/11/00]

           7/12/00   211    STIPULATION and ORDER, the time for dft Carl Walther Gmbh
                            to move or answer the first amended complaint shall be
                            7/10/00. ( signed by Judge Jack B. Weinstein , on 6/30/00)
                            (fp) [Entry date 07/12/00]

           7/12/00   212    STIPULATION and ORDER, dismissing without prejudice, all
                            claims asserted against dfts Veba AG and Rohm Gmbh, only.
                            ( signed by Judge Jack B. Weinstein , on 7/6/00) (fp)
                            [Entry date 07/12/00]

           7/14/00   213    LETTER dated 7/7/00 Elisa Barnes from Mag. Pollak,
                            enclosing pltff's first set of interrogatories and document
                            requests to certain dfts. (fp) [Entry date 07/14/00]



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           7/19/00   214    ANSWER to Interrogatories and Document Requests by John
                            Lenkey, III, President of Felk Incorporated (fp)
                            [Entry date 07/19/00]

           7/19/00   215    REQUEST for Default Judgment by pltffs against dfts Arcadia
                            Machine & Tool, Inc; Desert Mountain Manufacturing; Forth
                            Worth Firearms, Inc.; Grendel, Inc.; Llama Gabilondo y Cia;
                            Lorcin Engineering Co. Inc; Mitchell Arms, Inc; Raven Arms,



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                            inc.,; Uberti Light Arms, Inc.,; and Wayne Daniel. (fp)
                            [Entry date 07/19/00]

           7/19/00   216    AFFIDAVIT of Elisa Barnes, attorney for National
                            Association, National Spinal Cord Re: In support of default
                            judgment. (fp) [Entry date 07/19/00]

           7/19/00   217    CLERK'S ENTRY OF DEFAULT noted on 7/18/00 by Catherine
                            Wolff as to Arcadia Machine & Tool, Inc; Desert Mountain
                            Manufacturing; Forth Worth Firearms; Grendel, Inc; Llama
                            Gabilondo Y Cia; Lorciin Engineering Co., Inc; Mitchell
                            Arms, Inc.; Raven Arms, Inc.; Uberti Inc; Ultra Light Arms,
                            Inc.; Wayne Daniel. (fp) [Entry date 07/19/00]

           7/19/00   218    CERTIFICATE OF SERVICE by Elisa Barnes of the Request for
                            Default, Affidavit, Certificate and Proposed Default
                            judgment by mail on 7/12/00 upon Arcadia Machine & Tool,
                            Inc; Cobray Firearms, Inc; Desert Mountain Manufacturing;
                            Fort Worth Firearms; FMJ, Inc. d/b/a Full Metal Jacket, Inc;
                             Grendel, Inc; Llama Gabilondo Y Cia; Lorcin Engineering
                            Co., Inc; Mitchell Arms, Inc; Raven Arms, Inc.; S.W.
                            Daniel, Inc.; Uberti Aldo; Ultra Light Arms, Inc; Wayne
                            Daniel. (fp) [Entry date 07/19/00]

           7/19/00   219    LETTER   dated 7/13/00 from Elisa Barnes to Judge
                            Weinstein, enclosing a copy of the request to enter default
                            judgment. (fp) [Entry date 07/19/00]

           7/19/00   --     Endorsed order, refer to clerk of court before signing. (
                            Signed by Judge Jack B. Weinstein , on 7/17/00) (endorsed
                            on letter, document #219) (fp) [Entry date 07/19/00]

           7/24/00   221    ANSWER by Glock GmbH to amended complaint (fp)
                            [Entry date 07/25/00]

           7/25/00   220    STIPULATION and ORDER, the time for dft Carl Walther GmbH
                            to answer with respect to the first amended complaint is
                            extended to 7/21/00. ( signed/ by Judge Jack B. Weinstein ,
                            on 7/13/00) (fp) [Entry date 07/25/00]

           7/25/00   223    Disclosure of interested parties by Walther GmbH (fp)
                            [Entry date 07/26/00]

           8/3/00    224    NOTICE of Consent to Change Attorney, that Renzulli &
                            Rutherford, LLP be substituted as attorneys of record for
                            Bond Arms, Inc in place and stead of Falk & Seimer. (fp)


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                            [Entry date 08/03/00]

           8/3/00    225    ORDER, that dfts shall serve responses and/or objections to
                            pltff's discovery request in accordance with the FRCP. The
                            scheduling of motions to dismiss will be addressed at the
                            conference set for 9/22/00 at 10:00. Dft Felk Incorporated
                            may not appear pro se in this action, but must retain duly
                            licensed counsel. ( signed by Magistrate Cheryl L. Pollak ,
                            on 8/2/00) (fp) [Entry date 08/03/00]

           8/4/00    226    LETTER   dated 7/21/00 from John Lenkey III                   to Mag.



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                            Pollak, requesting that the court dismiss the pltff's
                            charges against Felk Incorporated with prejudice and to
                            order pltffs to pay out of pocket, taxable expenses to Felk
                            Incorporated. (fp) [Entry date 08/04/00]

           8/4/00    227    LETTER   dated 7/7/00 from Elisa Barnes to Mag. Pollak,
                            pltff advises the court and defense counsel of the
                            discovery necessary in relation to the request of certain
                            dfts to be dismissed from this case due minimis production
                            or lack of personal jurisdiction. (fp) [Entry date 08/04/00]

           8/7/00    228    Certification that James Pettit, Counsel General/Federal
                            Ministry of Foreign Affairs of the Republic of Austria, of
                            the U.S.A., rec'd. letters rogatory & accompanying
                            documents on 7/3/00. (tv) [Entry date 08/07/00]

           8/10/00   229    ANSWER by Ceska Zbrojovka to amended complaint; jury demand
                            (fp) [Entry date 08/11/00]

           8/15/00   230    RESPONSE by Freedom Arms, Inc. to pltff's first set of
                            interrogatories and document request (fp)
                            [Entry date 08/15/00]

           8/15/00   231    RESPONSE by Bond Arms, Inc. to pltff's first set of
                            interrogatories and document request (fp)
                            [Entry date 08/15/00]

           8/15/00   232    RESPONSE by L.A.R. Manufacturing to pltff's first set of
                            interrogatories and document requests. (fp)
                            [Entry date 08/15/00]

           8/15/00   233    RESPONSE by H&R 1871, Inc. to pltff's first set of
                            interrogatories and document requests (fp)
                            [Entry date 08/15/00]

           8/21/00   234     MOTION by National Association, National Spinal Cord to
                            amend [6-1] amended complaint, Motion hearing [234-1]
                            motion (fp) [Entry date 08/23/00]

           8/21/00   235    CERTIFICATE OF SERVICE by Sylvia Cruz on 8/16/00 by mail
                            upon parties, Re: Motion to Amend and Accompanying
                            Memorandum of Law. (fp) [Entry date 08/23/00]



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           8/21/00   236    AFFIDAVIT of Elisa Barnes Re: In support of [234-1] motion
                            to amend [6-1] amended complaint (fp) [Entry date 08/23/00]

           8/21/00   237    MEMORANDUM OF LAW by National Association, National Spinal
                            Cord in support of [234-1] motion to amend [6-1] amended
                            complaint (fp) [Entry date 08/23/00]

           8/29/00   238    NOTICE of Hearing for Motion to Amend Complaints set for
                            9/11/00 at 2:00. (fp) [Entry date 08/29/00]

           9/1/00    239    LETTER   dated 8/9/00 from John Lenkey III (President of
                            Felk Incorporated) to Mag. Pollak, asking the court to
                            appoint a public defender for felk. (fp)
                            [Entry date 09/01/00]



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           9/7/00    240    MOTION by Walther GmbH for Terry Moritz and Roger A. Lewis
                            to appear pro hac vice. Receipt #: 235713.. Approved by
                            Judge Weinstein on 8/18/00. (wa) [Entry date 09/07/00]

           9/13/00   241    ENDORSED ORDER on letter dated 9/7/00 from Robert Joyce,
                            Esq. to Judge Weinstein. Notify by consent, leve to amend
                            granted. Sept. 11 hearing cancelled. ( signed by Judge
                            Jack B. Weinstein , on 9/8/00) c/m-Chambers (tl)
                            [Entry date 09/13/00]



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           9/13/00   243    AMENDED COMPLAINT by National Association, National Spinal
                            Cord , (Answer due 9/23/00 for Braztech Internation, for
                            Navy Arms Company, for Import Sports, Inc., for Firearms
                            Internatio, for BeeMiller, Inc., for Autauga Arms, Inc.,
                            for Tanfoglio Fratelli S, for Haskell Company, for Glock,
                            Inc., for Glock GmbH, for American Arms, Inc., for American
                            Derringer, for Arcadia Machine, for Arms Technology, Inc,
                            for Astra-star C/Lbrra, for Bond Arms, Inc., for Bersa,
                            S.A., for B.L. Jennings, Inc., for Browning Arms Co., for
                            Bryco Arms, for Calico Light Weapon, for Century
                            Internationa, for Ceska Zbrojovka, for Charco 2000, Inc.,
                            for China North Industri, for Cobray Firearms, Inc, for
                            Colt's Manufacturing, for Cz Usa, for Daewoo Precision Ind,
                            for Desert Mountain Manu, for Eagle Imports, for European
                            American Ar, for Excel Industries, for Fabrica D'Armi
                            Pietr, for Felk Incorporated, for Ferunion/Hungarian, for
                            Fort Worth Arms, for Freedom Arms, Inc., for F.M.J., Inc.,
                            for Grendel, Inc., for Hammerli Ltd., for Heckler & Koch,
                            GmbH, for Heckler & Koch, Inc., for Heritage Manufacturi,
                            for High Standard Manufa, for Hi-Point Firearms, for H&R
                            1871, Inc., for Howa Machinery Ltd., for International
                            Armame, for Israel Military Indu, for K.B.I. Inc., for
                            Kel-Tec Cnc Industri, for L.A.R. Manufacturing, for Llama
                            Gabilondo Y Ci, for Lorcin Engineering, for L.W. Seecamp
                            Co., for Magnum Research Inc., for Mauser Weke Oberndor,
                            for Maverick Arms, Inc., for Mitchell Arms, Inc., for
                            Navegar, Inc., for North American Arms, for North China
                            Industri, for Olympic Arms, Inc., for Para-Ordnance Manufa,
                            for Para-Ordnance, Inc., for Phoenix Arms, Inc., for Raven
                            Arms, Inc., for Remington Arms Compa, for Republic Arms,
                            for Rossi, S.A., for Safari Arms, Inc., for Savage Arms,
                            Inc., for Sgs Imports Internat, for Sgw Enterprises, Inc,
                            for Sigarms, Inc., for Sigarms/Sauer, for Smith & Wesson
                            Corpo, for Star, Bonifacio Eche, for Sti International, for
                            Sturm, Ruger & Compa, for Sundance Industries, for S.W.
                            Daniel, Inc., for Taurus International, for Forjas Taurus,
                            S.A., for Thompson/Center Arms, for Uberti Aldo, for Uberti
                            Usa, Inc., for Ultra Light Arms, In, for Walther GmbH, for
                            Weatherby, Inc., for Sylvia Daniel, for Wayne Daniel )
                            amending [6-1] amended complaint (fp) [Entry date 09/15/00]

           9/13/00   246    LETTER   dated 9/13/00 from Elisa Barnes to Clerk of Court
                            enclosing the Second Amended Complaint in this case. (ar)
                            [Entry date 09/18/00]

           9/14/00   242    LETTER   dated 9/7/00 from Robert L. Joyce                  to Judge



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                            Weinstein, advising that dfts do not intend to oppose
                            pltff's motion for leave to amend and requesting that the
                            9/11 hearing be taken off calendar. (fp)
                            [Entry date 09/14/00]



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           9/14/00   --     Endorsed order, By consent [234-1] motion to amend [6-1]
                            amended complaint granted. September 11 hearing cancelled.
                            ( Signed by Judge Jack B. Weinstein , on 9/8/00) (endorsed
                            on letter, document #242) (fp) [Entry date 09/14/00]

           9/18/00   244    ORDER endorsed on letter dated 9/7/00 from Robert Joyce to
                            Judge Weinstein. By consent, leave to amend complaint is
                            granted. September 11, 2000 hearing is cancelled. ( signed
                            by Judge Jack B. Weinstein on 9/8/00) (ar)
                            [Entry date 09/18/00]

           9/18/00   245    RETURN OF SERVICE of Complaint in connection with
                            plaintiff's motion to amend executed as to all parties on
                            8/16/00. Answer due on 9/5/00. (ar) [Entry date 09/18/00]

           9/21/00   247    LETTER   dated 9/18/00 from Elisa Barnes to Mag. Pollak,
                            providing the court with an update on the parties efforts
                            to resolve issues; service, defaults and de minimus
                            dismissals. (fp) [Entry date 09/21/00]

           9/21/00   --     Endorsed order, to the extent that pltffs intend to address
                            deficiencies in dft's responses to pltffs discovery demands
                            at the next conference, pltffs are directed to send to the
                            court a copy of these requests and objections to be
                            addressed. ( Signed by Magistrate Cheryl L. Pollak , on
                            9/19/00) (endorsed on letter, document #247) (fp)
                            [Entry date 09/21/00]

           9/28/00   248    LETTER   dated 9/20/00 from Charles L. Coleman to Mag.
                            Pollak, stating Heckler & Koch, Inc's position with respect
                            to the "de minimis" issue and to facilitate a better
                            understanding of the areas of agreement and disagreement
                            between HK and pltff's counsel. (fp) [Entry date 09/28/00]

           9/28/00   249    LETTER   dated 9/21/00 from Elisa Barnes to Mag. Pollak,
                            outlining the objections of the NAACP to several of the
                            interrogatories and requests for documents interposed by
                            dfts relating to the issue of standing. (fp)
                            [Entry date 09/28/00]

           10/3/00   250    LETTER   dated 9/26/00 from John S. Kanzler to Mag.
                            Pollak, advising that parties will be meeting on 9/28/00 in
                            hopes of an agreement concerning outstanding discovery
                            disputes. (fp) [Entry date 10/03/00]

           10/3/00   251    LETTER   dated 9/26/00 from Douglas C. Conroy to Mag.
                            Pollak, objecting to any briefing schedule being set on the
                            "de minimis" issue prior to the conference now scheduled
                            for 10/17/00. (fp) [Entry date 10/03/00]

           10/6/00   253     MOTION by Sti International to dismiss the action on de
                            minimis grounds. Motion hearing [253-1] motion (fp)



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                            [Entry date 10/10/00]



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           10/10/00 252     LETTER   dated 9/25/00 from John Lenkey III, President of
                            Felk Incorporated to Mag. Pollak, advising the court of the
                            reasons why dft cannot comply with the court's order to
                            hire an attorney. (fp) [Entry date 10/10/00]

           10/10/00 254      MOTION by National Association, National Spinal Cord for
                            an order compelling the production of information and
                            documents requested in a subpoena for documents served on
                            the Bureau of Alcohol Tobacco and Firearms on 7/5/00 ,
                            Motion hearing [254-1] motion Memorandum of Law in
                            Support attached. (also docketed in 99 CV 7037) (fp)
                            [Entry date 10/12/00]

           10/12/00 255     NOTICE dated 10/11/00 by June P. Lowe that STI's Motion to
                            Dismiss will be placed on the calendar for 10/27/00 at
                            10:00. (fp) [Entry date 10/12/00]

           10/13/00 256     STIPULATION of Dismissal with prejudice by pltff against
                            dft Remington Arms Company, Inc. ( Signed by Judge Jack B.
                            Weinstein , dated: 10/10/00) (fp) [Entry date 10/13/00]

           10/13/00 --      Endorsed order, Pltff's motion to compel is referred to
                            Mag. Pollak ( Signed by Judge Jack B. Weinstein , on
                            10/11/00) (endorsed on letter, document #254) (forwarded to
                            Mag. Pollak) (fp) [Entry date 10/13/00]

           10/13/00 --      Motion(s) referred: [254-1] motion for an order compelling
                            the production of information and documents requested in a
                            subpoena for documents served on the Bureau of Alcohol
                            Tobacco and Firearms on 7/5/00 referred to Magistrate
                            Cheryl L. Pollak ( signed by Judge Jack B. Weinstein
                            10/11/00 ) (fp) [Entry date 10/13/00]

           10/13/00 257     ORDER, argument on pltff's motion to compel the Bureau of
                            Alcohol, Tobacco and Firearms to provide certain documents
                            requested in a subpoena duces tecum served 7/5/00 will be
                            heard on 10/17/00 at 2:00. Responsive papers, if any are
                            due 10/16/00 by 5:30. ( signed by Magistrate Cheryl L.
                            Pollak , on 10/11/00) (also docketed in 99 cv 7037) (fp)
                            [Entry date 10/13/00]

           10/13/00 258     RESPONSE by National Association, National Spinal Cord in
                            opposition to STI [253-1] motion to dismiss the action on
                            de minimis grounds (fp) [Entry date 10/16/00]

           10/13/00 259      MOTION by National Association, National Spinal Cord for
                            an order striking the affirmative defense of lack of
                            personal jurisdiction from the answers of dft Fabrica
                            D'Armi Pietro Beretta SpA and Walther GmbH Motion
                            hearing [259-1] motion. (fp) [Entry date 10/16/00]



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           10/13/00 260     MEMORANDUM OF LAW by National Association, National Spinal
                            Cord in support of [259-1] motion for an order striking the
                            affirmative defense of lack of personal jurisdiction from
                            the answers of dft Fabrica D'Armi Pietro Beretta SpA and
                            Walther GmbH (fp) [Entry date 10/16/00]

           10/16/00 261     LETTER   dated 10/11/00 from Vincent Lipari to Mag.
                            Pollak, requesting that Bureau of Alcohol Tobacco and
                            Firearms time to respond to pltff's motion to compel be
                            extended to 10/27/00, that pltff's reply be extended to
                            11/3/00 and that oral argument date set for 10/17 be
                            adjourned to 11/6, 7, 8, or 10. (fp) [Entry date 10/16/00]

           10/16/00 --      Endorsed order, request granted. Oral argument set for
                            10/30/00 at 2:00. ( Signed by Magistrate Cheryl L. Pollak ,
                            on 10/12/00) (endorsed on letter, document #261) (fp)
                            [Entry date 10/16/00]

           10/17/00 266     Calendar entry: Conference held before Magistrate Pollak on
                            10/17/00. Separate order entered. (ar)
                            [Entry date 10/24/00]

           10/18/00 262     STIPULATION of Dismissal without prejudice as to dft
                            Maverick Arms, Inc. ( Signed by Judge Jack B. Weinstein ,
                            dated: 10/10/00) (fp) [Entry date 10/18/00]

           10/20/00 263     ORDER setting the following schedule: motions to dismiss by
                            11/6; respponse by 11/13, replies, by 11/20. Motion to
                            compel discovery by 11/6; response by 11/13l reply by 11/20.
                            Arugment on motions set fro 11/29/00 at 10:30. Third amended
                            complaint by 10/20. Copies ofconsent form and ECF
                            registration mailed to parties. Faxed to parties on 10.29.
                            ( signed by Magistrate Cheryl L. Pollak , on 10.18.00) (jag)
                            [Entry date 10/20/00] [Edit date 10/20/00]

           10/20/00 264     LETTER dated 10/20/00 from Elisa Barnes to Clerk: Elisa
                            Barnes now with firm of McHugh & Barnes. This docket and
                            99CV7037 updated. (jag) [Entry date 10/23/00]

           10/23/00 265     LETTER dated 10/20/00 from Kelly A. Reape to ARR: revised
                            briefing scheduling: deft's respnby by 10/20; pltff's
                            reply by 10/27. (jag) [Entry date 10/23/00]

           10/25/00 267     THIRD AMENDED COMPLAINT by National Association, National
                            Spinal Cord as to all deft's, (Answer due 10/15/99 )
                            amending [243-1] amended complaint No summons issued. (rj)
                            [Entry date 10/25/00]

           10/25/00 268     LETTER   dated 10/20/2000 from Elisa Barnes to Clerk of
                            the Court firm name change. (rj) [Entry date 10/25/00]

           10/25/00 269     ORDER, substituting attorney terminated attorney Daniel J.
                            O'Neill for Walther GmbH Added Thomas P. Battistoni (
                            signed by Judge Jack B. Weinstein , on 10/22/00) c/m (fp)


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                            [Entry date 10/25/00]

           10/25/00 270     LETTER   dated 10/13/00 from Elisa Barnes to Mag. Pollak,
                            presenting pltff's position on the contested discovery
                            issues. (fp) [Entry date 10/25/00]

           10/27/00 271     NOTICE that Balber Pickard Battistoni Maldonado & Van Der
                            Tuin has been substituted as attorney of record for Carl
                            Walther GmbH. (fp) [Entry date 10/30/00]

           10/27/00 275     Calendar entry: Before Judge Weinstein for a Hearing on
                            STI's Motion for Dismissal of the Complaint. Motion argued.
                            [253-1] motion to dismiss is denied. (fp)
                            [Entry date 11/06/00]

           10/30/00 272     LETTER   dated 10/25/00 from Elisa Barnes to Mag. Pollak
                            and Defense Counsel, advising that pltff National Spinal
                            Cord Injury Association will not be voluntarily dismissed
                            from this action. (fp) [Entry date 10/30/00]

           10/30/00 274     Calendar entry: Before Mag. Pollak on 10/30/00 for a
                            Conference. Oral argument on ATF motion. Parties to
                            confer and report to the court on 11/29 at 10:00. (fp)
                            [Entry date 11/02/00]

           10/31/00 273     ANSWER by Taurus International Manufacturing to Third
                            Amended Complaint (fp) [Entry date 11/02/00]

           11/6/00   276     MOTION by Olympic Arms, Inc., Safari Arms, Inc., Sgw
                            Enterprises, Inc to dismiss, Motion hearing [276-1]
                            motion (fp) [Entry date 11/08/00]

           11/6/00   277    NOTICE of Dismissal by plaintiffs against dft Saielo, Inc.
                            (fp) [Entry date 11/08/00]

           11/6/00   278     MOTION by National Association, National Spinal Cord to
                            compel discovery. Motion hearing [278-1] motion (fp)
                            [Entry date 11/08/00]

           11/6/00   279     MOTION by Excel Industries to dismiss, Motion hearing
                            [279-1] motion set for 11/29/00 at 10:30 (fp)
                            [Entry date 11/08/00]

           11/6/00   280     MOTION by Weatherby, Inc. to dismiss the third amended
                            complaint. Motion hearing [280-1] motion (fp)
                            [Entry date 11/08/00]

           11/6/00   281    MEMORANDUM OF LAW by Weatherby, Inc. in support of [280-1]
                            motion to dismiss the third amended complaint (fp)
                            [Entry date 11/08/00]

           11/6/00   282    Rule 56.1 Statement(formerly Rule 3(g) by Weatherby, Inc.
                            re: [280-1] motion to dismiss the third amended complaint
                            (fp) [Entry date 11/08/00]


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           11/6/00   283    AFFIDAVIT of Douglas C. Conroy Re: In support of [280-1]
                            motion to dismiss the third amended complaint (fp)



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                            [Entry date 11/08/00]

           11/6/00   284    ANSWER by Forjas Taurus, S.A. to third amended complaint (fp)
                            [Entry date 11/08/00]

           11/6/00   285    ANSWER by Taurus Holdings, Inc to third amended complaint
                            (fp) [Entry date 11/08/00]

           11/6/00   286    ANSWER by Heritage Manufacturic to third amended complaint
                            (fp) [Entry date 11/08/00]

           11/6/00   287    ANSWER by Braztech Internation to third amended complaint
                            (fp) [Entry date 11/08/00]

           11/6/00   288    ANSWER by Rossi, S.A. to third amended complaint (fp)
                            [Entry date 11/08/00]

           11/6/00   293    MEMORANDUM OF LAW by Walther GmbH in support of [292-1]
                            cross motion to dismiss the second amended complaint, and
                            in opposition to [259-1] motion for an order striking the
                            affirmative defense of of personal jurisdiction from the
                            answers of dft Fabrica D'Armi Pietro Beretta SpA and
                            Walther GmbH (fp) [Entry date 11/08/00]

           11/7/00   289    CROSS MOTION by Fabrica D'Armi Pietr to dismiss, Motion
                            hearing [289-1] cross motion set for 11/29/00 at 10:00 (fp)
                            [Entry date 11/08/00]

           11/7/00   290    MEMORANDUM OF LAW by Fabrica D'Armi Pietr in opposition to
                            [259-1] motion for an order striking the affirmative
                            defense of of personal jurisdiction from the answers of dft
                            Fabrica D'Armi Pietro Beretta SpA and Walther GmbH and in
                            support of [289-1] cross motion to dismiss (fp)
                            [Entry date 11/08/00]

           11/7/00   291    Declaration of Victor Genecin Re: In opposition to [259-1]
                            motion for an order striking the affirmative defense of
                            lack of personal jurisdiction from the answers of dft
                            Fabrica D'Armi Pietro Beretta SpA and Walther GmbH, in
                            support of [289-1] cross motion to dismiss (fp)
                            [Entry date 11/08/00]

           11/7/00   292    CROSS MOTION by Walther GmbH to dismiss the second amended
                            complaint, Motion hearing [292-1] cross motion set for
                            11/29/00 at 10:30 (fp) [Entry date 11/08/00]

           11/7/00   294    LETTER   dated 11/6/00 from Kevin G. Donoghue to Court,
                            encloisng dft's motion to compel on behalf of all dfts. (fp)
                            [Entry date 11/08/00]



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           11/7/00   295    MOTION by all Defendant's to compel pltffs to comply with
                            dft's discovery requests, Motion hearing [295-1] motion (fp)
                            [Entry date 11/08/00]

           11/7/00   296    Exhibits to Dfts Motion to Compel. (fp)
                            [Entry date 11/08/00]




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           11/7/00   297    LETTER   dated 11/6/00 from Kevin Donoghue to Judge
                            Weinstein, enclosing a courtesy copy of dft's motion to
                            compel. (fp) [Entry date 11/08/00]

           11/7/00   298     MOTION by Cz Usa to dismiss the third amended complaint,
                            Motion hearing [298-1] motion set for 11/29/00 at 10:30 (fp)
                            [Entry date 11/08/00]

           11/7/00   299    MEMORANDUM OF LAW by Cz Usa in support of [298-1] motion
                            to dismiss the third amended complaint (fp)
                            [Entry date 11/08/00]

           11/7/00   300    AFFIDAVIT of Thomas E. Healy Re: In support of [298-1]
                            motion to dismiss the third amended complaint (fp)
                            [Entry date 11/08/00]

           11/7/00   301    AFFIDAVIT of Josef Jares Re: In support of [298-1] motion
                            to dismiss the third amended complaint (fp)
                            [Entry date 11/08/00]

           11/8/00   --     Endorsed order, dft's motion to compel is respectfully
                            referred to Mag. Judge. ( Signed by Judge Jack B. Weinstein
                            , on 11/7/00) (endorsed on letter, document #297) (fp)
                            [Entry date 11/08/00]

           11/8/00   --     Motion(s) referred: [295-1] motion to compel pltffs to
                            comply with dft's discovery requests referred to
                            Magistrate Cheryl L. Pollak ( signed by Judge Jack B.
                            Weinstein 11/7/00 ) (fp) [Entry date 11/08/00]

           11/9/00   302    LETTER   dated 11/3/00 from Alyssa M. Horvath to Mag.
                            Pollak, dft Mauser Weke Oberndorf Waffnysteme Gmbh request
                            an extension to serve motion papers seeking dismissal. (fp)
                            [Entry date 11/09/00]

           11/9/00   --     Endorsed order, dispute resolved in accordance with parties
                            agreement. ( Signed by Magistrate Cheryl L. Pollak , on
                            11/6/00) (endorsed on letter, document #302) (fp)
                            [Entry date 11/09/00]

           11/9/00   303    LETTER   dated 11/3/00 from Monica Connell to Mag. Pollak,
                            pltff's request that the court deny the request by dft
                            Mauser Weke Obendorf Waffnsysteme, Gmbh for a two extension
                            to file the motion to dismiss. (fp) [Entry date 11/09/00]

           11/13/00 304     ECF Consent filed by Thomas E. Healy, Esq., counsel for Cz
                            Usa. [Mr. Healy's ECF Registration was enclosed.] (tv)


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                            [Entry date 11/13/00]

           11/13/00 305     ECF Consent filed by Michael Zomcik, Esq., counsel for
                            defendant Phoenix Arms, Inc. [Mr. Zomcik's ECF
                            Registration was enclosed.] (tv) [Entry date 11/13/00]

           11/14/00 308     MEMORANDUM by National Association, National Spinal Cord
                            in opposition to dft's motion to compel discovery
                            responses. (fp) [Entry date 11/16/00]




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           11/15/00 309     AFFIDAVIT of Service by Monica Connell by mail on 11/3/00
                            upon all counsel of record Re: (1) Pltff's memorandum of
                            law in support of pltff's motion to strike and in
                            opposition to the motions to dismiss for lack of personal
                            jurisdiction by dfts Fabbrica D'Armi Pietro Beretta, SpA
                            and Walther GmbH; (2) Certification of Monica Connell in
                            support of Motion and in opposition to cross motion (3)
                            pltffs unified opposition to motions to dismiss as de
                            minimis for lack of personal jurisdiction (fp)
                            [Entry date 11/16/00]

           11/15/00 310     MEMORANDUM OF LAW by National Association, National Spinal
                            Cord in support of of pltff's motion to strike the
                            affirmative defense of lack of personal jurisdiction and in
                            opposition to the motions to dismiss by dfts Fabrica D'Armi
                            Pietro Beretta, SpA and Walther, GmbH (fp)
                            [Entry date 11/17/00]

           11/15/00 311     Certificate of Monica Connell Re: In opposition to the
                            motions to dismiss by various defendants. (fp)
                            [Entry date 11/17/00]

           11/15/00 312     Certification of Monica Connell Re: In support of pltff's
                            motion to strike the affirmative defense of lack of
                            personal jurisdiction interposed by dft Fabbrica D'Armi
                            Pietro Beretta and Walther, GmbH and in opposition to their
                            cross motions for dismissal. (fp) [Entry date 11/17/00]

           11/16/00 306     LETTER   dated 11/10/00 from Timothy A. Bumann to Mag.
                            Pollak, advising that the two interrogatories previously
                            omitted from dft's motion to compel are set forth in the
                            enclosed correspondnce addressed to Elisa Barnes dated
                            10/5/00. (fp) [Entry date 11/16/00]

           11/16/00 307     LETTER   dated 11/10/00 from Elisa Barnes to Mag. Pollak,
                            advising that pltffs are not able to address in writing the
                            issues raised by Mr. Bumann in his letter of this afternoon
                            and counsel will be prepared to discuss them orally on
                            11/29. (fp) [Entry date 11/16/00]

           11/16/00 313     ANSWER by Olympic Arms, Inc., Safari Arms, Inc., Sgw
                            Enterprises, Inc to third amended complaint; jury demand (fp)
                            [Entry date 11/17/00]



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           11/16/00 347     ANSWER by Olympic Arms, Inc., Safari Arms, Inc., Sgw
                            Enterprises, Inc to third amended complaint (fp)
                            [Entry date 11/29/00]

           11/17/00 314     LETTER   dated 11/17/00 from Thomas E. Healy to Clerk,
                            attaching the original and copy of dft CZ-USA, Inc. and
                            Ceska Zbrojovka answer to pltff's third amended complaint.
                            (fp) [Entry date 11/20/00]

           11/17/00 315     ANSWER by Cz Usa, Inc. to third amended complaint; jury
                            demand (fp) [Entry date 11/20/00]

           11/17/00 316     ANSWER by Walther GmbH to third amended complaint; jury



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                            demand (fp) [Entry date 11/20/00]

           11/17/00 317     FIRS AMENDED ANSWER by Colt's Manufacturing to amended
                            complaint; jury demand (fp) [Entry date 11/22/00]

           11/17/00 318     ANSWER by Navy Arms Company to third amended complaint;
                            jury demand (fp) [Entry date 11/22/00]

           11/17/00 319     ANSWER by Smith & Wesson Corpo to third amended complaint;
                            jury demand (fp) [Entry date 11/22/00]

           11/17/00 320     ANSWER by Sturm, Ruger & Compa to third amended complaint;
                            jury demand (fp) [Entry date 11/27/00]

           11/17/00 321     ANSWER by Ceska Zbrojovka to third amended complaint; jury
                            demand (fp) [Entry date 11/27/00]

           11/20/00 322     REPLY MEMORANDUM OF LAW by Weatherby, Inc. in support of
                            Motion for Summary Judgment. (fp) [Entry date 11/27/00]

           11/20/00 323     REPLY AFFIRMATION by E. Gordon Haesloop Re: In reply to
                            pltff's opposition to dft Olympic's Motion to Dismiss as de
                            minimis. (fp) [Entry date 11/27/00]

           11/20/00 324     REPLY by Excel Industries in to opposition to motion to
                            dismiss on de minimis and lack of Minimum Contact Grounds;
                            Declaration of William J. Kohout; Supplemental Declaration
                            of Steven A. Silver. (fp) [Entry date 11/27/00]

           11/20/00 325     ANSWER by Weatherby, Inc. to third amended complaint; jury
                            demand (fp) [Entry date 11/27/00]

           11/21/00 326     ANSWER by Fabrica D'Armi Pietr to third amended complaint
                            (fp) [Entry date 11/27/00]

           11/21/00 327     Disclosure of interested parties by Fabrica D'Armi Pietr (fp)
                            [Entry date 11/27/00]

           11/21/00 328     REPLY MEMORANDUM OF LAW by Walther GmbH in support of its
                            cross motion to dismiss for lack of personal and subject
                            matter jurisdiction (fp) [Entry date 11/27/00]


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           11/21/00 329     ANSWER by dft's represented by John F. Renzulli to third
                            amended complaint; jury demand (see document for details)
                            (fp) [Entry date 11/27/00]

           11/21/00 336     REPLY MEMORANDUM by National Association, National Spinal
                            Cord in support of [278-1] motion to compel discovery (fp)
                            [Entry date 11/27/00]

           11/21/00 337     ANSWER by Phoenix Arms, Inc. to third amended complaint;
                            jury demand (fp) [Entry date 11/27/00]

           11/21/00 338     ANSWER by Sigarms, Inc. to third amended complaint; jury
                            demand (fp) [Entry date 11/27/00]

           11/21/00 339     ANSWER by Sigarms/Sauer to third amended complaint; jury



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                            demand (fp) [Entry date 11/27/00]

           11/21/00 340     ANSWER by Hammerli Ltd. to third amended complaint; jury
                            demand (fp) [Entry date 11/27/00]

           11/21/00 350     ANSWER by Heckler & Koch, Inc. to third amended complaint
                            (fp) [Entry date 12/05/00]

           11/22/00 330      MOTION by Mauser Weke Oberndor for summary judgment,
                            Motion hearing [330-1] motion hearing set for 11/29/00 at
                            10:30 (fp) [Entry date 11/27/00]

           11/22/00 331     MEMORANDUM OF LAW by Mauser Weke Oberndor                  in support of
                            [330-1] motion for summary judgment (fp)
                            [Entry date 11/27/00]

           11/22/00 332     Rule 56.1 Statement(formerly Rule 3(g) by Mauser Weke
                            Oberndor re: [330-1] motion for summary judgment (fp)
                            [Entry date 11/27/00]

           11/22/00 333     REPLY MEMORANDUM OF LAW by Mauser Weke Oberndor                     in support
                            [330-1] motion for summary judgment (fp)
                            [Entry date 11/27/00]

           11/22/00 334     REPLY AFFIDAVIT of Leslie F. Ruff Re: In support of
                            [330-1] motion for summary judgment (fp)
                            [Entry date 11/27/00]

           11/22/00 335     AFFIDAVIT of Leslie F. Ruff Re: In support of [330-1]
                            motion for summary judgment (fp) [Entry date 11/27/00]

           11/22/00 342     REPLY MEMORANDUM OF LAW by Cz Usa in further support of
                            [298-1] motion to dismiss the third amended complaint (fp)
                            [Entry date 11/28/00]

           11/22/00 343     RESPONSE by Defendant's to pltff's opposition to the motion
                            to compel. (fp) [Entry date 11/28/00]



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           11/23/00 341     ANSWER by American Arms, Inc. to third amended complaint (fp)
                            [Entry date 11/27/00]

           11/27/00 344     REPLY MEMORANDUM OF LAW by Fabrica D'Armi Pietr                     in further
                            support of [289-1] cross motion to dismiss (fp)
                            [Entry date 11/28/00]

           11/27/00 345     SUPPLEMENTAL DECLARATION of Victor Genecin Re: In support
                            of Fabbrica d'Armi Pietro Beretta, S.p.A. [289-1] cross
                            motion to dismiss (fp) [Entry date 11/28/00]

           11/29/00 346     LETTER   dated 11/27/00 from Thomas P. Battistoni to Mag.
                            Pollak, requesting that the motions relating to Carl
                            Walther GmbH be placed at the end of the scheduled
                            proceedings on wednesday morning. (fp) [Entry date 11/29/00]

           11/29/00 --      Endorsed order, request to place motions relating to Carl
                            Walther GmbH at the end of the scheduled proceedings on
                            wednesday morning is granted. ( Signed by Magistrate Cheryl



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                            L. Pollak , on 11/27/00) (endorsed on letter, document
                            #346) (fp) [Entry date 11/29/00]

           11/29/00 353     Calendar entry: Before Mag. Pollak on 11/29/00 for a
                            Conference. ATF given until 1/15 to do computer runs;
                            Pltffs given until 1/22 to review results and report to
                            court. Pltff to serve discovery requests, re: Walther by
                            12/8. Responses due 1/18; Pltff's to notify court by 1/15,
                            Re: depositions. Dfts who wish to re-raise jurisdictional
                            motions to submit letter by 12/15 advising court of intent
                            to make motion and to supply any information on which they
                            reoly. Dfts to move by 1/15; Pltffs response due 2/15;
                            reply 2/23; pltffs to conduct discovery (if any) prior &
                            2/15. Distributions response to class certification motion
                            due 1/29. Pltff's reply due 2/23 (fp) [Entry date 12/08/00]

           11/29/00 358     Before Judge Weinstein- Case called for Motion Hearing.
                            Court Reporter: D. Pereira. Counsel for all sides present.
                            Motion for dismissal argued. Order to be submitted by
                            Court. Other decision on the record. (mrl)
                            [Entry date 12/12/00]

           12/1/00   348    ECF Consent by Excel Industries (cnb) [Entry date 12/01/00]

           12/1/00   349    TRANSCRIPT of conference before Magistrate Pollak filed for
                            for dates of 11/29/00. Court reporters: Sheldon Silverman
                            and Burton Sulzer. (ar) [Entry date 12/01/00]

           12/4/00   352    LETTER   dated 12/4/00 from James V. Marks to Mag. Pollak,
                            attaching a copy of the letter to Mr. Silverman requesting
                            that he correct a mistake that appears in the transcript of
                            the 11/29/00 hearing before the court. (fp)
                            [Entry date 12/08/00]



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           12/5/00   351    LETTER   dated 11/27/00 from Thomas P. Battistoni to Mag.
                            Pollak, requesting that the motions relating to Carl
                            Walther GmbH be placed at the end of the scheduled
                            proceedings on wednesday morning. (fp) [Entry date 12/05/00]

           12/7/00   354    RETURN OF SERVICE executed 11/30/00 as to Leinan, Inc and
                            Saeilo, Inc (3RD AMENDED COMPLAINT) (fp)
                            [Entry date 12/08/00]

           12/7/00   355    ANSWER to Complaint by Sylvia Daniel. (mrl)
                            [Entry date 12/12/00]

           12/8/00   356    ANSWER to Complaint by Heckler & Koch, Inc. (mrl)
                            [Entry date 12/12/00]

           12/8/00   357    ANSWER to Complaint by American Arms, Inc.; jury demand.
                            (mrl) [Entry date 12/12/00]

           12/11/00 359     ANSWER by Excel Industries to third amended complaint; jury
                            demand (fp) [Entry date 12/13/00]

           12/14/00 --      AMENDED ORDER signed by Judge Jack B. Weinstein on 12/7/00.
                            Motions to dismiss by Bond Arms, Freedom Arms, Mauser,



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                            Olympic Arms, Savage Arms, and Weatherby are granted.
                            Motions by Carl Walther, CZ-USA, Excel, and Fabbrica d'Armi
                            are denied. (this is doc. #26 in 99cv7037) (ar)
                            [Entry date 12/14/00]

           12/15/00 370      MOTION by Emco, Inc. for R. Kent Henslee, Christie D.
                            Knowles to appear pro hac vice Fee #: $50.00    Receipt #:
                            240969, Motion hearing [370-1] motion (fp)
                            [Entry date 01/17/01]

           12/15/00 371     AFFIDAVIT of R. Kent Henslee Re: In support of [370-1]
                            motion for R. Kent Henslee, Christie D. Knowles to appear
                            pro hac vice Fee #: $50.00 Receipt #: 240969 (fp)
                            [Entry date 01/17/01]

           12/15/00 372     AFFIDAVIT of Christina D. Knowles Re: In support of
                            [370-1] motion for R. Kent Henslee, Christie D. Knowles to
                            appear pro hac vice Fee #: $50.00 Receipt #: 240969 (fp)
                            [Entry date 01/17/01]

           12/18/00 362     RETURN OF SERVICE executed 12/8/00 as to Emco, Inc.
                            (AMENDED SUMMONS & THIRD AMENDED COMPLAINT) (fp)
                            [Entry date 12/20/00]

           12/20/00 360     LETTER   dated 12/15/00 from Robert L. Joyce to Mag.
                            Pollak, advising that SIG Arms Haemmerli, AG intends to
                            move to dismiss on de minimus grounds. (fp)
                            [Entry date 12/20/00]



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           12/20/00 361     LETTER   dated 12/15/00 from John S. Kanzler to Mag.
                            Pollak, advising that American Derringer will move to
                            dismiss on the ground of lack of personal jurisdiction. (fp)
                            [Entry date 12/20/00]

           12/20/00 364     ANSWER by Leinad, Inc. to third amended complaint (fp)
                            [Entry date 12/27/00]

           12/27/00 363     LETTER, dated 12/6/00, from Monica Connell to W.H. Conner
                            enclosing a copy of the transcript from the 11/29/00
                            hearing before Judge Weinstein and a copy of M.J. Pollak's
                            scheduling order. (vjf) [Entry date 12/27/00]

           12/27/00 365     STIPULATION of Dismissal by pltffs without prejudice as to
                            dft H&R 1871, Inc. ( Signed by Judge Jack B. Weinstein ,
                            dated: 12/15/00) c/m (fp) [Entry date 12/27/00]

           1/2/01   366     LETTER   dated 11/20/00 from John Kanzler to Mag. Pollak,
                            in further support of Savage Arms, Inc's Motion to Dismiss
                            as De Minimis (fp) [Entry date 01/02/01]

           1/2/01   367     LETTER   dated 11/20/00 from John S. Kanzler to Mag.
                            Pollak, in further support of Bond Arms Motion to Dismiss
                            as De Minimis. (fp) [Entry date 01/02/01]

           1/2/01   368     LETTER   dated 11/20/00 from John S. Kanzler to Mag.
                            Pollak, in further support of Freedom Arms Motion to
                            Dismiss as De Minimis (fp) [Entry date 01/02/01]



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           1/5/01    373     MOTION by North American Arms for Bradley T. Beckman to
                            appear pro hac vice Fee #: 25.00    Receipt #: 241176,
                            Motion hearing [373-1] motion (fp) [Entry date 01/17/01]

           1/11/01   369    RENEWED MOTION by Sti International to dismiss on de
                            minimis grounds. Motion hearing [369-1] motion (fp)
                            [Entry date 01/12/01]

           1/11/01   375    LETTER   dated 1/2/01 from W.H. Connor to Judge Weinstein,
                            requesting that the court consider the Renewed Motion by
                            STI International, Inc. to Dismiss on De Minimus Grounds.
                            (fp) [Entry date 01/17/01]

           1/16/01   377     MOTION by Emco, Inc. to dismiss, Motion hearing [377-1]
                            motion (fp) [Entry date 01/22/01]

           1/17/01   --     Endorsed order granting [370-1] motion for R. Kent Henslee,
                            Christie D. Knowles to appear pro hac vice Fee #: $50.00
                            Receipt #: 240969 ( Signed by Judge Jack B. Weinstein ,
                            on 12/28/00) (endorsed on motion, document #370) (fp)
                            [Entry date 01/17/01]

           1/17/01   374    ORDER   granting [373-1] motion for Bradley T. Beckman to
                            appear pro hac vice Fee #: 25.00    Receipt #: 241176 (
                            signed by Judge Jack B. Weinstein ,   on 1/5/01) (fp)


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                            [Entry date 01/17/01]

           1/17/01   --     Endorsed order, set for argument by telephone when papers
                            are completed. ( Signed by Judge Jack B. Weinstein , on
                            1/8/01) (endorsed on letter, document #375) (fp)
                            [Entry date 01/17/01]

           1/18/01   378    RESPONSE by National Association, National Spinal Cord in
                            opposition to STI's [369-1] motion to dismiss on de minimis
                            grounds (fp) [Entry date 01/24/01]

           1/19/01   376    ECF Consent filed by Joel M. Cohen, counsel for defendant
                            Smith & Wesson Corporation. (tv) [Entry date 01/19/01]

           1/24/01   382    Second Amended Summons Served. (No English Translations)
                            (see attachments) (fp) [Entry date 02/05/01]

           1/25/01   379    LETTER   dated 1/12/01 from Elisa Barnes to Mag. Pollak,
                            pltffs request an adjournment of time to provide the court
                            with a list of persons to be deposed until 1/29/00. (fp)
                            [Entry date 01/25/01]

           1/25/01   --     Endorsed order, pltff's request for an adjournment of time
                            to provide the court with a list of persons to be deposed
                            until 1/29/00 is Granted. ( Signed by Magistrate Cheryl L.
                            Pollak , on 1/16/01) (endorsed on letter, document #379) (fp)
                            [Entry date 01/25/01]

           2/1/01    380    LETTER   dated 1/25/01 from Thomas P. Battistoni to Elisa
                            Barnes, advising that Roger Lewis has forwarded the letters
                            dated 1/24/01 to Carl Walther GmbH in Germany and will need



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                            to confer with the client regarding discovery requests. (fp)
                            [Entry date 02/01/01]

           2/1/01    381    LETTER   dated 1/24/01 from Elisa Barnes to Mag. Pollak,
                            requesting that deposition take place in NY or
                            alternatively, at a mutually convenient law office in
                            Springfield Massachussetes where Mr. Pflaumer's company,
                            Walther USA #2 is located. Also request that the
                            deposition be videotaped. (fp) [Entry date 02/01/01]

           2/7/01    383    LETTER   dated 1/12/01 from Elisa Barnes to Mag. Pollak,
                            requesting that the court set a date for a hearing on the
                            BATF producition issue. (fp) [Entry date 02/07/01]

           2/7/01    --     Endorsed order, hearing set for 3/9/01 at 9:30. ( Signed by
                            Magistrate Cheryl L. Pollak , ) (endorsed on letter,
                            document #383) (fp) [Entry date 02/07/01]

           2/9/01    384    STIPULATION of Dismissal without prejudice by pltff's
                            against dft Howa Machinery Ltd. ( Signed by Judge Jack B.
                            Weinstein , dated: 1/5/01) (fp) [Entry date 02/09/01]



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           2/12/01   385    STIPULATION of Dismissal Without Prejudice against dft
                            L.A.R. Mfg., Inc. ( Signed by Judge Jack B. Weinstein ,
                            dated: 1/28/01) c/m (fp) [Entry date 02/12/01]

           2/12/01   386    ORDER, that unless plaintiff can show cause within 30 days,
                            the claim against Felk Incorporated will be dismissed. (
                            signed by Judge Jack B. Weinstein , on 2/8/01) c/m (fp)
                            [Entry date 02/12/01]

           2/12/01   387    ORDER, that the motion to dismiss by dft STI is granted
                            with leave to resubmit should circumstances change. (
                            signed by Judge Jack B. Weinstein , on 2/8/01) c/m (fp)
                            [Entry date 02/12/01]

           2/12/01   388    RESPONSE by National Association, National Spinal Cord                        in
                            opposition to [369-1] motion to dismiss on de minimis
                            grounds (fp) [Entry date 02/12/01]

           2/12/01   --     Endorsed order, STI is dismissed for lack of personal
                            jurisdiction with leave to resubmit should circumstances
                            change. ( Signed by Judge Jack B. Weinstein , on 1/28/01)
                            c/m (endorsed on response in opposition, document #388) (fp)
                            [Entry date 02/12/01]

           2/12/01   389    LETTER   dated 1/22/01 from W.H. Connor to Judge
                            Weinstein, follow up to determine if any further action is
                            needed on counsel's part. (fp) [Entry date 02/12/01]

           2/12/01   390    LETTER   dated 1/7/01 from John Lenkey III to Judge
                            Weinstein, enclosing the reason that Felk Inc. should never
                            have been accused by pltffs. (fp) [Entry date 02/12/01]

           2/12/01   --     Endorsed order, unless plainitff can show good cause within
                            30 days the claim against Felk Incorporated will be
                            dismissed. ( Signed by Judge Jack B. Weinstein , on



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                            1/12/01) (endorsed on letter, document #390) (fp)
                            [Entry date 02/12/01]

           2/13/01   391    NOTICE dated 2/9/01 from June P. Lowe, that all pending
                            dispositive motions will be placed on the court's calendar
                            for 3/6/01 at 10:30. (also docketed in 99 cv 7037) (fp)
                            [Entry date 02/13/01]

           2/13/01   393    RESPONSE by National Association, National Spinal Cord in
                            opposition to American Derringer [392-1] motion to dismiss
                            the action as de minimis (fp) [Entry date 02/15/01]

           2/15/01   392    Letter MOTION dated 1/12/01 from John S. Kanzler, attorney
                            for American Derringer to Judge Weinstein to dismiss the
                            action as de minimis. Motion hearing [392-1] motion (fp)
                            [Entry date 02/15/01]



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           2/15/01   --     Endorsed order, pltffs are requested to respond to motion
                            to dismiss by American Derringer within 20 days. ( Signed
                            by Judge Jack B. Weinstein , on 1/17/01) (endorsed on
                            letter motion, document #392) (fp) [Entry date 02/15/01]

           2/16/01   394    RESPONSE by National Association, National Spinal Cord in
                            opposition to Felk, Inc's application for dismissal. (fp)
                            [Entry date 02/20/01]

           2/16/01   395    MOTION by Colt's Manufacturing Thomas E. Fennell and
                            Michael L. Rice to appear pro hac vice, Motion hearing
                            [395-1] motion (fp) [Entry date 02/20/01]
                            [Edit date 06/07/02]

           2/16/01   396    AFFIDAVIT of Thomas E. Healy Re: In support of [395-1]
                            motion Thomas E. Fennell and Michael L. Rice to appear pro
                            hac vice (fp) [Entry date 02/20/01]

           2/20/01   397    ORDER, granting [395-1] motion Thomas E. Fennell and
                            Michael L. Rice to appear pro hac vice ( signed by Judge
                            Jack B. Weinstein ,   on 2/12/01) (ENDORSED ON LETTER DATED
                            2/8/01 FROM THOMAS HEALY TO CLERK) (fp)
                            [Entry date 02/20/01]

           2/23/01   398    LETTER   dated 1/14/00 from John Lenkey, President of Felk
                            to Judge Weinstein, requesting to be severed from this
                            action. (fp) [Entry date 02/23/01]

           2/26/01   400    Evidentiary Submission by Emco, Inc. in support of Motion
                            to Dismiss. (fp) [Entry date 02/28/01]

           2/27/01   399    MEMORANDUM and ORDER, Dft Felk's Renewed Motion to Dismiss
                            is denied with leave to renew after dft has answered
                            appropriate interrogatories. ( signed by Judge Jack B.
                            Weinstein on 2/21/01) c/m (fp) [Entry date 02/27/01]

           3/1/01    401    LETTER   dated 2/23/01 from John Kanzler to Mag. Pollak,
                            confirming that the 3/9/01 discovery conference has been
                            rescheduled for 3/7/01 at 2:00. (also docketed in 99 cv
                            7037) (fp) [Entry date 03/01/01]



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           3/1/01   --      Endorsed order, the discovery conference has been
                            rescheduled to 3/7/01 at 2:00. ( Signed by Magistrate Cheryl
                            L. Pollak , on 2/23/01) (endorsed on letter, document #401)
                            (also docketed in 99 cv 7037) (fp) [Entry date 03/01/01]
                            [Edit date 03/01/01]

           3/1/01   402     NOTICE of attorney appearance for Bryco Arms, B.L. Jennings,
                            Inc. by Brian Heermance (fp) [Entry date 03/02/01]
                            [Edit date 03/02/01]

           3/5/01   406     NOTICE of Change of Address by attorney Thomas A. Bumann,
                            at 127 Peachtree Street, N.E., Suite 636, Atlanta, Georgia
                            30301. (This only changes the Suite number from 715 to 636)


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                            (fp) [Entry date 03/06/01]

           3/6/01   403     LETTER   dated 2/23/01 from John S. Kanzler to Judge
                            Weinstein, confirming that the 3/6/01 hearing before Judge
                            Weinstein for all pending dispositive motions has been
                            rescheduled o 3/7/01 at 11:00. (fp) [Entry date 03/06/01]

           3/6/01   --      Endorsed order, approved. The 3/6/01 hearing for all
                            dispositive motions has been scheduled to 3/7/01 at 11:00.
                            ( Signed by Judge Jack B. Weinstein , on 2/26/01) (endorsed
                            on letter, document 403) (fp) [Entry date 03/06/01]

           3/6/01   404     LETTER   dated 2/28/01 from Leslie Ruff to Mag. Pollak,
                            advising that Heckler & Koch, Inc., H&K GmbH's affiliated
                            distributor will be producing all or virtually all the
                            documents available to H&K GmbH responsive to plff's
                            requests. Also requesting that this matter be discussed at
                            the conference set for 3/7/01. (fp) [Entry date 03/06/01]

           3/6/01   --      Endorsed order, the issue will be addressed at the
                            conference on 3/7/01. ( Signed by Magistrate Cheryl L.
                            Pollak , on 3/1/01) (endorsed on letter, document #404) (fp)
                            [Entry date 03/06/01]

           3/6/01   405     STIPULATION Regarding Interim Protective Order, ( signed by
                            Magistrate Cheryl L. Pollak , on 3/1/01) (fp)
                            [Entry date 03/06/01]

           3/6/01   409     CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Forjas
                            Taurus, S.A.'s Responses to pltffs first request for
                            production of documents upon pltff's counsel and all other
                            counsel of record by mail on 3/1/01. (fp)
                            [Entry date 03/08/01]

           3/6/01   410     CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Rossi,
                            S.A.'s Responses to Pltff's first request for production of
                            documents upon pltff's counsel and all other counsel of
                            record by mail on 3/1/01. (fp) [Entry date 03/08/01]

           3/6/01   411     CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Taurus
                            Holdings, Inc.'s responses to pltff's first request for
                            production of documents upon pltff's counsel and all other
                            counsel of record by mail on 3/1/01. (fp)



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           3/6/01    412    CERTIFICATE OF SERVICE by Timothy A. Bumann, Re: Taurus
                            International Manufacturing, Inc's responses to pltff's
                            first request for production of documents upon pltff's
                            counsel and all other counsel of record by mail on 3/1/01.
                            (fp) [Entry date 03/08/01]

           3/7/01    407    LETTER dated 2/22/01 from John Lenkey, President of Felk
                            Inc. to Judge Weinstein, requesting that the court execute
                            the dismssal as to Felk Inc. (fp) [Entry date 03/07/01]


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           3/7/01    --     Endorsed order, dft may appear by telephone. Set for
                            argument. Settle other arguments in case. Notify be
                            telephone. ( Signed by Judge Jack B. Weinstein , on 3/5/01)
                            (endorsed on letter, document #407) (fp)
                            [Entry date 03/07/01]

           3/8/01    408    LETTER   dated 3/6/01 from Elisa Barnes to Mag. Pollak,
                            requesting a brief adjournment of the discovery conference
                            scheduled for 3/7/01. (fp) [Entry date 03/08/01]

           3/8/01    --     Endorsed order, adjournment granted. Conference will be
                            rescheduled at a later date.   ( Signed by Magistrate
                            Cheryl L. Pollak , on 3/6/01) (endorsed on letter, document
                            #408) (fp) [Entry date 03/08/01]

           3/12/01   413    LETTER   dated 3/8/01 from Elisa Barnes to Mag. Pollak,
                            requesting an adjournment of the hearing on the motion to
                            compel batf production from 3/9/01 to 4/11/01 at 4:30. (fp)
                            [Entry date 03/12/01]

           3/12/01   --     Endorsed order, granting the request to adjourn the motion
                            hearing on the motion to compel batf production to 4/11/01
                            at 4:30. ( Signed by Magistrate Cheryl L. Pollak , on
                            3/8/01) (endorsed on letter, document #413) (fp)
                            [Entry date 03/12/01]

           3/16/01   415    AFFIDAVIT of Robert A. Stringer (fp) [Entry date 03/20/01]

           3/16/01   417    Calendar entry: Before Judge Weinstein on 3/16/01 for a
                            Motion Hearing for Various Motions. Motion argued. Order
                            to be submitted by parties. Decision on the record. (fp)
                            [Entry date 03/26/01]

           3/19/01   414    LETTER   dated 3/9/01 from Elisa Barnes to Defense
                            Counsel, advising that argument on all outstanding
                            dispositive motions have been reassigned to 3/16/01 at
                            10:00. (fp) [Entry date 03/19/01]

           3/19/01   --     Endorsed order. Approved. Argument on all outstanding
                            dispositive motions have been reassigned to 3/16/01 at
                            10:00. ( Signed by Judge Jack B. Weinstein , on 3/18/01)
                            (endorsed on letter, document #414) (fp)
                            [Entry date 03/19/01]

           3/23/01   416    LETTER   dated 1/24/01 from Elisa Barnes                  to Mag. Pollak,



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                            pltff's request the deposition of Wulf-Heinz Pflaumer,
                            Chairman of the Advisory Board of dft Carl Walther GmbH in
                            regard to the personal jurisdiction discovery permitted
                            against Carl Walther GmbH. (fp) [Entry date 03/23/01]



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           3/23/01   418    ORDER signed by Judge Jack B. Weinstein on 3/16/01.
                            American Derringer Corp.'s motion to dismiss is granted;
                            Felk Inc.'s motion to dismiss is granted; Emco, Inc.'s
                            motion to dismiss is granted on condition that information
                            about the sale of equipment is furnished within ten days.
                            Motion to dismiss by defendant gun distributors for lack of
                            standing is denied. Plaintiff withdrew motion to certify
                            class with leave to renew. The matter is referred to
                            Magistrate for discovery relevant to certification. (ar)
                            [Entry date 03/26/01]

           3/28/01   419    LETTER   dated 3/22/01 from Monica Connell to Judge
                            Weinstein, plff request that the court deny dft Emco's
                            motion to dismiss. (fp) [Entry date 03/28/01]

           3/29/01   420    LETTER   dated 3/22/01 from Elisa Barnes to John Renzulli,
                            advising counsel that the responses to items 12,13, 15 and
                            17 have violated the court's order of November 2000. (fp)
                            [Entry date 03/29/01]

           3/29/01   421    LETTER   dated 3/23/01 from Elisa Barnes to Mag. Pollak,
                            plaintiffs request that the court again order dft's counsel
                            to provide documents and responses to request 12, 13 and
                            17. (fp) [Entry date 03/29/01]

           3/29/01   422    LETTER   dated 3/27/01 from John S. Kanzler to Mag.
                            Pollak, counsel advises that they are ready to meet and
                            confer with pltff's counsel prior to the 4/20 hearing. (fp)
                            [Entry date 03/29/01]

           3/29/01   --     Endorsed order, counsel for the parties are directed to
                            meet and confer on the issues raised in pltff's letter. (
                            Signed by Magistrate Cheryl L. Pollak , on 3/27/01)
                            (endorsed on letter, documen #422) (fp)
                            [Entry date 03/29/01]

           4/2/01    423    MOTION by NAACP to amend their amended complaint to add
                            three new parties. (jag) [Entry date 04/05/01]

           4/6/01    424    ORDER, No hearing is required unless dfts seeks it. In the
                            absence of a hearing the [423-1] motion to amend the
                            amended complaint is granted. ( signed by Judge Jack B.
                            Weinstein , on 4/2/01) (ENDORSED ON COPY OF MOTION TO
                            AMEND) (ALSO DOCKETED IN 99 CV 7037) (fp)
                            [Entry date 04/06/01]

           4/9/01    425    LETTER   dated 3/19/01 from R. Kent Henslee to Elisa
                            Barnes, confirming the argument that Emco, Inc. is no longer
                            in business. (fp) [Entry date 04/09/01]
                            [Edit date 04/09/01]

           4/9/01    426    LETTER from R. Kent Henslee to Judge Weinstein                    to Judge



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                            Weinstein, requesting that the court enter the dismissal as
                            to dft Emco, Inc. (fp) [Entry date 04/09/01]


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                            [Edit date 04/10/01]

           4/10/01   427    LETTER   dated 3/22/01 from Monica A. Connell to Judge
                            Weinstein, pltff's request that the court deny Emco's
                            motion to dismiss. (fp) [Entry date 04/10/01]

           4/10/01   --     Endorsed order, Motion to Dismiss; Order of Dismissal
                            Stayed. ( Signed by Judge Jack B. Weinstein , on 3/23/01)
                            c/m (endorsed on letter, document #427) (fp)
                            [Entry date 04/10/01]

           4/12/01   428    LETTER   dated 4/9/01 from Vincent Lipari to Mag. Pollak,
                            confirming that with pltff's consent, the hearing on
                            pltff's motion to compel production of certain ATF
                            materials is adjourned to 5/16/01 at 2:00. (fp)
                            [Entry date 04/12/01]

           4/12/01   --     Endorsed order, the hearing on pltff's motion to compel
                            production of certain ATF materials is adjourned to 5/16/01
                            at 2:00. ( Signed by Magistrate Cheryl L. Pollak , on
                            4/9/01) (endorsed on letter, document #428) (fp)
                            [Entry date 04/12/01]



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           4/12/01   430    FOURTH AMENDED COMPLAINT by National Association, National
                            Spinal Cord , (Answer due 4/22/01 for Emco, Inc., for
                            Stoeger Industries, for Braztech Internation, for Ram-Line,
                            Inc., for Navy Arms Company, for Import Sports, Inc., for
                            Internatio, for BeeMiller, Inc., for Autauga Arms, Inc., for
                            Tanfoglio Fratelli S, for Haskell Company, for Glock, Inc.,
                            for Glock GmbH, for A.A. Arms, Inc., for American Arms,
                            Inc., for American Derringer, for American Firearms, for
                            Arcadia Machine, for Arms Technology, Inc, for Astra-star
                            C/Lbrra, for Augusta Arms, Inc., for Bond Arms, Inc., for
                            Braztech, Inc., for Bersa, S.A., for B.L. Jennings, Inc.,
                            for Browning Arms Co., for Bryco Arms, for Calico Light
                            Weapon, for Caspian Arms, Ltd., for Century Internationa,
                            for Ceska Zbrojovka, for Charco 2000, Inc., for China North
                            Industri, for Cobray Firearms, Inc, for Colt's
                            Manufacturing, for Cz Usa, for Daewoo Precision Ind, for
                            Davis Industries, In, for Desert Mountain Manu, for Eagle
                            Imports, for European American Ar, for Excel Industries, for
                            Fabrica D'Armi Pietr, for Felk Incorporated, for
                            Ferunion/Hungarian, for Fort Worth Arms, for Freedom Arms,
                            Inc., for Firearms Internation, for F.M.J., Inc., for
                            Grendel, Inc., for Hammerli Ltd., for Harrington & Richard,
                            for Haskell, Inc., for Heckler & Koch, GmbH, for Heckler &
                            Koch, Inc., for Heritage Manufacturi, for High Standard
                            Manufa, for Hi-Point Firearms, for H&R 1871, Inc., for Howa



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                            Machinery Ltd., for Import Sports Corp., for International
                            Armame, for Israel Military Indu, for K.B.I. Inc., for
                            Kel-Tec Cnc Industri, for L.A.R. Manufacturing, for Laseraim
                            Technologie, for Llama Gabilondo Y Ci, for Lorcin
                            Engineering, for L.W. Seecamp Co., for Magnum Research Inc.,
                            for Mauser Weke Oberndor, for Maverick Arms, Inc., for
                            Mitchell Arms, Inc., for Mks Supply, Inc., for Navegar,
                            Inc., for Navy Arms, Inc., for North American Arms, for
                            North China Industri, for Olympic Arms, Inc., for
                            Para-Ordnance Manufa, for Para-Ordnance, Inc., for Phoenix
                            Arms, Inc., for Quality Arms, Inc., for Quality Firearms,
                            In, for Quality Firearms Of, for Ram-Line Corp., for Raven
                            Arms, Inc., for Remington Arms Compa, for Republic Arms, for
                            Rg Industries, Inc., for Rocky Mountain Arms, for Rohm GmbH,
                            for Rossi, S.A., for Safari Arms, Inc., for Savage Arms,
                            Inc., for Sgs Imports Internat, for Sgw Enterprises, Inc,
                            for Sigarms, Inc., for Sigarms/Sauer, for Smith & Wesson
                            Corpo, for Sportsmen Of Florida, for Stallard/Maverick, for
                            Stallard Arms, for Star, Bonifacio Eche, for Sti
                            International, for Stoeger, Inc., for Sturm, Ruger & Compa,
                            for Sundance Industries, for S.W. Daniel, Inc., for
                            Tanfoglio S.r.1., for Taurus Holdings, Inc, for Taurus
                            International, for Forjas Taurus, S.A., for Thompson/Center
                            Arms, for Uberti Aldo, for Uberti Usa, Inc., for Ultra Light
                            Arms, In, for Veba AG, for Walther GmbH, for Weatherby,
                            Inc., for Bruce Jennings, for Sylvia Daniel, for Wayne
                            Daniel ) amending [267-1] amended complaint against Walther
                            USA LLC, Talon Industries, In, Davis Industries (fp)
                            [Entry date 04/16/01] [Edit date 04/16/01]


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           4/13/01   429    LETTER   dated 4/12/01 from John S. Kanzler to Judge
                            Weinstein, advising that dfts do not request a hearing on
                            the issue for a motion to amend the complaint. (fp)
                            [Entry date 04/13/01]

           4/16/01   431    LETTER   dated 4/11/01 from Monica Connell to All Defense
                            Counsel, addressing certain outstanding discovery matters
                            which must be addressed prior to the 4/20 conference. (fp)
                            [Entry date 04/16/01]

           4/16/01   433    NOTICE of Change of Address by Bradley T. Beckman, to Two
                            Penn Center Plaza, Suite 910, Philadelphia, Pennsylvania
                            19102. (fp) [Entry date 04/18/01]

           4/17/01   432    LETTER   dated 4/12/01 from John S. Kanzler to Judge
                            Weinstein, advising that by stipulation dft's must respond
                            and or answer the amended complaint by 5/7/01. (fp)
                            [Entry date 04/17/01]

           4/17/01   --     Endorsed order, dft's must respond to the amended complaint
                            by 5/7/01. ( Signed by Judge Jack B. Weinstein , on
                            4/12/01) (endorsed on letter, document #432) (fp)
                            [Entry date 04/17/01]

           4/20/01   441    Calendar entry: Before Mag. Pollak on 4/20/01 for a
                            Conference. See Transcript. (fp) [Entry date 05/22/01]




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           5/1/01    434    LETTER   dated 4/19/01 from John S. Kanzler to Mag.
                            Pollak, certain manufacturing dfts suggest that the parties
                            be given time to meet and confer in an attempt to reach an
                            agreement that will result in the submission of a joint
                            proposed protective order. (fp) [Entry date 05/01/01]

           5/2/01    438     MOTION by Bryco Arms, B.L. Jennings, Inc. for Robert E.
                            Scott Jr. to appear pro hac vice, Motion hearing [438-1]
                            motion and (fp) [Entry date 05/17/01]

           5/7/01    435    ANSWER by Smith & Wesson Corpo to to Fourth Amended
                            Complaint; jury demand (fp) [Entry date 05/08/01]

           5/10/01   436    LETTER   dated 3/23/01 from Elisa Barnes to Mag. Pollak,
                            pltffs request that the court issue an order that dfts
                            represented by Renzulli & Rutherford immediately comply
                            with the court's order of 11/29/00. (fp)
                            [Entry date 05/10/01]

           5/11/01   437    LETTER   dated 5/11/01 from Monica Connell to Mag. Pollak,
                            memorandum regarding the proposed protective orders. (fp)
                            [Entry date 05/15/01]

           5/16/01   440    Calendar entry: Before Mag. Pollak on 5/16/01 for a
                            Conference. Conference adjourned. (fp)
                            [Entry date 05/22/01]


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           5/17/01   --     Endorsed order granting [438-1] motion for Robert E. Scott
                            Jr. to appear pro hac vice ( Signed by Judge Jack B.
                            Weinstein ,   on 5/4/01) c/m (endorsed on motion, document
                            #438) (fp) [Entry date 05/17/01]

           5/21/01   439    LETTER   dated 5/11/01 from Monica Connell to Mag. Pollak,
                            requesting that pltff's be allowed until next thursday to
                            address the issue of possible discovery against Walther,
                            GmbH by letter to the court. (also docketed in 99 cv 7037)
                            (fp) [Entry date 05/21/01] [Edit date 05/21/01]

           5/21/01   --     Endorsed order, pltffs are granted until next thursday to
                            address the issue of possible discovery against Walther,
                            GmbH by letter to the court. ( Signed by Magistrate Cheryl
                            L. Pollak , on 5/16/01) (endorsed on letter, document #439)
                            (also docketed in 99 cv 7037) (fp) [Entry date 05/21/01]

           5/21/01   443    ANSWER by Republic Arms to fourth amended complaint; demand
                            for jury trial. (dg) [Entry date 05/24/01]

           5/22/01   445    LETTER dated 5/15/01 from J. Joseph Wilder to Judge
                            Weinstein, enclosing the Notice of Motion of Falk & Siemer,
                            LLP and J. Josphe Wilder, Esq. to withdrawal as counsel in
                            the above case. (dg) [Entry date 05/31/01]

           5/24/01   442    LETTER   dated 5/21/01 from Christopher Renzulli to Mag.
                            Pollak, manufacturing dfts request an additional 30 days to
                            comply with the court's discovery rulings outlined during
                            the 4/20/01 status conference. (fp) [Entry date 05/24/01]




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           5/24/01   --     Endorsed order, manufacturing dfts are granted an
                            additional 30 days to comply with the court's discovery
                            rulings outlined during the 4/20/01 status conference. (
                            Signed by Magistrate Cheryl L. Pollak , on 5/21/01)
                            (endorsed on letter, document #442) (fp)
                            [Entry date 05/24/01]

           5/24/01   446    LETTER dated 5/22/01 from J. Joseph Wilder to all
                            defendants enclosing an order signed by Judge Weinstein on
                            5/25/01. (ar) [Entry date 06/04/01]

           5/31/01   444    NOTICE OF MOTION form Falk & Siemer, LLp and J. Joseph
                            Wilder, Esq. to withdraw as counsel for deft. Calico Light
                            Weapons Systems, Inc.. (dg) [Entry date 05/31/01]

           5/31/01   --     Endorsed order on doc. #445. Casse will deem submitted on
                            5/25. Unless some party objects, The motion to withdraw is
                            granted as of 5/25/01. ( Signed by Judge Jack B. Weinstein
                            , on 5/21/01). (dg) [Entry date 05/31/01]

           6/12/01   447    ANSWER by Walther USA LLC to Fourth Amended Complaint jury
                            demand (fp) [Entry date 06/14/01]



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           6/20/01   448    AFFIDAVIT OF SERVICE by Lance K. Tise Re: [430-1] fourth
                            amended complaint on 4/25/01 upon dft Walther USA (fp)
                            [Entry date 06/20/01]

           6/20/01   449    AFFIDAVIT OF SERVICE by Ken Martin Re: [430-1] fourth
                            amended complaint on 5/4/01 upon Talon Industries, Inc.,
                            Sharon Edwards, Receptionish/Secretary. (fp)
                            [Entry date 06/20/01]

           6/20/01   450    AFFIDAVIT OF SERVICE by Juan Hernandez Re: [430-1] fourth
                            amended complaint on 4/24/01 upon Davis Industries. (fp)
                            [Entry date 06/20/01]

           7/6/01    451    LETTER   dated 9/22/00 from Elisa Barnes to Mag. Pollak,
                            proposing a discovery and motion schedule. (fp)
                            [Entry date 07/06/01]

           7/6/01    452    MEMORANDUM by All Manufacturuing dfts in opposition to
                            pltff's motion to compel discovery. (fp)
                            [Entry date 07/06/01]

           7/6/01    453    LETTER   dated 10/20/00 from Thomas P. Battistoni to Judge
                            Weinstein, enclosing a consent to change attorney executed
                            by dft Carl Walther GmbH as its former counsel Walter,
                            Conston, Alexander & Greene, P.C. (fp) [Entry date 07/06/01]

           7/6/01    454    LETTER   dated 5/5/00 from John F. Renzulli to Elisa
                            Barnes, enclosing dft's first set of interrogatories and
                            request for production. (no enclosures) (fp)
                            [Entry date 07/06/01]

           7/19/01   455    STIPULATION and ORDER of protection between pltffs'
                            experts, and BATF regarding production of the un-redacted
                            firearms trace database. The [254-1] motion for an order



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                            compelling the production of information and documents
                            requested in a subpoena for documents served on the Bureau
                            of Alcohol Tobacco and Firearms on 7/5/00 is withdrawn. See
                            document for all terms, details and conditions. (signed by
                            Magistrate Cheryl L. Pollak, on 7/13/01) (tl)
                            [Entry date 07/19/01] [Edit date 07/19/01]

           11/27/01 456     LETTER dated 11.16.01 from Leonard Rosenbaum to USMJ Pollak
                            requesting that the 1.14.02 and 3.04.02 dates presently
                            scheduled by the Court in the distributors action for
                            briefing and oral argument, respectively, of defts' motion
                            for lack of standing (only) be adjourned. (cnb)
                            [Entry date 11/27/01]

           11/27/01 457     LETTER dated 11.19.01 from Elisa Barnes to Counselors
                            advising that USMJ Pollak has asked that the parties confer
                            with the Court in a telephone conference on 11.27.01 @ 5:15
                            p.m. (cnb) [Entry date 11/27/01]



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           12/7/01   458    ORDER, portions of this order amend the schedule set in the
                            prior order of this court in NAACP v. AcuSport, dated
                            10.22.01. Responses to pltff's discovery relating to the
                            issue of personal jurisdiction in the distributors' action
                            NAACP v. AcuSport, served on 10.26.01 are due on 12.14.01.
                            Pltff has agreed to reasonable extensions for those defts
                            unable to provide responses by 12.14. The previously
                            scheduled for personal jurisdiction, subject matter
                            jurisdiction and lack of standing are adjourned w/o date,
                            pending completion of the initial personal jurisdiction and
                            standing discovery in both actions. The standing discovery
                            sought by pltffs in the manufacturers' action, NAACP v.
                            American Arms, should completed by 1.18.02. By 1.2.02, pltff
                            is to advise the Court of any irresolvable discovery
                            problems. (Signed by Magistrate Cheryl L. Pollak, on
                            11.30.01). (cnb) [Entry date 12/07/01]
                            [Edit date 12/07/01]

           1/9/02    459    LETTER dated 01.02.02 from Elisa Barnes to Magistrate
                            Pollak requesting a two week adjournment in pltff's time to
                            provide the Court with notification of the outstanding &
                            unresolved discovery disputes in the manufacturers' action
                            until 1/16/02. W/enclosure. (kn) [Entry date 01/09/02]

           1/9/02    --     Endorsed order, on document # 459, request granted. (Signed
                            by Magistrate Cheryl L. Pollak, on 01.07.02). (kn)
                            [Entry date 01/09/02]

           1/22/02   460    (FAXED) LETTER dated 1.15.02 from Elisa Barnes to UMSJ
                            Pollak requesting the following motion and briefing
                            schedule: Pltffs' submission of motions to compel by
                            2.13.02; Defts' oppositions by 3.15.02; Pltff's reply by
                            3.29.02. (cnb) [Entry date 01/22/02]

           1/22/02   --     Endorsed order, on document # 460, request granted. (Signed
                            by Magistrate Cheryl L. Pollak, on 1.15.02). (cnb)
                            [Entry date 01/22/02]




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           2/13/02   461    ORDER, a conference has been scheduled for 5.1.02 @ 1:30
                            p.m. to replace the March 4 conference. (Signed by
                            Magistrate Cheryl L. Pollak, on 2.12.02). [Endorsed on
                            letter, dated 2.11.02, from Elisa Barnes to USMJ Pollak].
                            {w/attachments}. (cnb) [Entry date 02/13/02]
                            [Edit date 02/13/02]

           2/19/02   475    MOTION by the National Association For The Advancement of
                            Colored People & The National Spinal Cord Injury
                            Association for an order compelling certain defts. to
                            permit inspection and copying of docs. and to present reps.
                            for depositions. Motion hearing set for 5.01.02. Motion
                            file stamped: 2.19.02. {w/attached Certification of Elisa
                            Barnes and Exhibits A-J}. (cnb) [Entry date 05/02/02]



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           2/25/02   462    (FAXED) UNSIGNED PROPOSED ORDER, which memorializes the
                            amended discovery and motion schedule established at the
                            telephone conference with the parties in both cases on
                            11.27.01. w/attached service list. (cnb)
                            [Entry date 02/25/02]

           3/15/02   464    RESPONSE by Carl Walther, GmbH, to pltff's motion to
                            compel. {w/attached exhibits A-C}. *Forwarded to USMJ
                            Pollak. (cnb) [Entry date 03/19/02]

           3/18/02   463    MEMORANDUM by Smith & Wesson Corp. in opposition to pltffs'
                            motion to compel the inspection of documents. *Forwarded to
                            June Lowe. (cnb) [Entry date 03/18/02]

           3/18/02   465    RESPONSE by Forjas Taurus, S.A., Taurus International,
                            Taurus Holdings, Inc, Heritage Manufacturing & Braztech to
                            motion to compel of certain defts. *Forwarded to June Lowe.
                            (cnb) [Entry date 03/19/02]

           3/18/02   466    DEFENDANTS' Cz Usa, Inc., and Ceska Zbrojovka, A.S.'S
                            certification in opposition to pltff's motion to compel.
                            {w/attached exhibits A-F}. *Forwarded to June Lowe. (cnb)
                            [Entry date 03/19/02]

           3/26/02   467    LETTER dated 3.20.02 from Elisa Barnes to USDJ Weinstein &
                            USMJ Pollak advising of a change of address & telephone/fax
                            numbers. Docket sheet updated. (cnb) [Entry date 03/26/02]

           3/27/02   468    Notice of Address change from Chambers for Elisa Barnes,
                            Counsel for Pltff. New address is: 111 Broadway, 4th Floor,
                            New York, New York 10006. Phone #: 212-693-2330; fax #:
                            212-693-2334. (mjv) [Entry date 03/27/02]

           4/10/02   469    ORDER: the attorneys for all parties shall appear at 11:00
                            a.m. on 5.02.02 to set a schedule for completing
                            preparation for trial, & to fix trial dates. (Signed by
                            Judge Jack B. Weinstein, on 5.02.02). C/M from Chambers.
                            (cnb) [Entry date 04/15/02]

           4/10/02   470    Amended Disclosure of interested parties by Smith & Wesson
                            Corporation. (tj) [Entry date 04/18/02]




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           4/23/02   471    LETTER dated 4.15.02 from Elisa Barnes to Counselors
                            enclosing notices from Judge Weinstein's Chambers setting
                            down conferences in certain matters for 5.02.02 @ 11 a.m.
                            {w/enclosures}. (cnb) [Entry date 04/23/02]

           4/26/02   473    B.L. Jennings, Inc.'s Amended Responses to Plaintiff's
                            First Request for Production of Documents. [Forwarded to
                            June Lowe]. (cnb) [Entry date 04/30/02]

           4/26/02   474    Bryco Arms' Amended Responses to Plaintiff's First Request
                            For Production of Documents. [*Forwarded to June Lowe] (cnb)
                            [Entry date 04/30/02]


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           4/29/02   --     TENTATIVE ORDER to help structure discussions & supplement
                            the undersigned's general pretrial order dated 4.10.02.
                            (Signed by Judge Jack B. Weinstein, on 4.25.02). C/M from
                            Chambers. [SEE: civil case no. 99-cv-7037, document # 198,
                            for further details] (cnb) [Entry date 05/02/02]

           4/30/02   472    LETTER dated 4.22.02 from Elisa Barnes to Mr. LiPari
                            advising of the agreement to adjourn oral argument in
                            pltff's motion to compel production of complete BATF
                            records to 5.17.02 @ 9:30 a.m. & that BATF's opposition
                            papers be provided to her by 5.10.02. (cnb)
                            [Entry date 04/30/02]

           5/2/02    476    (FAXED) LETTER dated 4.30.02 from Leonard Rosenbaum to USDJ
                            Weinstein, o/b/o the manufacturind defts., requesting that
                            the court dismiss certain cases & outlining the status of
                            other cases. (cnb) [Entry date 05/02/02]

           5/2/02    477    (FAXED) LETTER dated 4.30.02 from David Ross to USDJ
                            Weinstein advising that the Distributors agree that the
                            Prosper, Garena, Harris and Sweeting cases should be
                            dismissed. Also, requesting permission to oppose
                            reinstatement on a more formal basis should Your Honor
                            proceed with this cases notwithstanding the positions as
                            otherwise stated in the Manufactures' letter to the court.
                            (cnb) [Entry date 05/02/02]

           5/2/02    478    (FAXED) LETTER dated 4.30.02 from Elisa Barnes to USDJ
                            Weinstein summarizing the status of various gun cases
                            pending before this court and outlining pltffs' theories
                            and proof. (cnb) [Entry date 05/02/02]

           5/2/02    --     Calendar entry: Before USDJ Weinstein on 5.02.02 at 11:00
                            a.m. case called for status conference held. Counsel for
                            all sides present. Case marked ready for trial on 11.18.02
                            for cv-99-7037. Rulings on the record. Stay is continued as
                            to cv-00-3641. SEE: civil case no. 97-cv-2730, doc. # 63,
                            for further details. (cnb) [Entry date 05/10/02]

           5/6/02    479    (FAXED) LETTER dated 4.29.02 from R. Kent Henslee to USMJ
                            Pollak enclosing a Joint Motion to Dismiss the Deft., Emco,
                            Inc. {w/enclosed Joint Motion to Dismiss and unsigned
                            order}. (cnb) [Entry date 05/06/02]




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           5/6/02    480    (FAXED) LETTER dated 5.02.02 from Elisa Barnes to
                            Counselors advising that the argument and determination of
                            pltff's motion to compel BATF production is scheduled for
                            5.23.02 @ 10:00 a.m. before USDJ Weinstein. Also, inquiring
                            as to whether additional time is necessary to complete
                            their opposition. (cnb) [Entry date 05/06/02]



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           5/6/02    --     LETTER dated 5.02.02 from Elisa Barnes to USDJ Weinstein
                            enclosing pltff's motion and letter of 4.60.02 enclosing
                            the recent decision of the Court of Appeals for the Seventh
                            Circuit. (Annexed to doc. # 480) (cnb) [Entry date 05/06/02]

           5/9/02    481    LETTER dated 4.29.02 from Elisa Barnes to USMJ Pollak
                            enclosing a copy of the Seventh Circuit's decision in City
                            of Chicago v. BATF. {w/o enclosure}. (cnb)
                            [Entry date 05/09/02]

           5/9/02    482    ORDER: Taurus Intl. is ordered to meet and confer with
                            plaintiffs' counsel after producing full and complete
                            responses to pltffs' discovery requests on or before
                            5.10.02. Pltff's are directed to provide responses to
                            defts' requests and meet and confer on any disputes. To the
                            extent that any issues remain outstanding, the parties
                            shall appear before this court on 5.31 @ 12:30 a.m. (So
                            Ordered: Magistrate Cheryl L. Pollak, on 5.08.02). C/F by
                            Chambers on 5.08.02. [Endorsed on letter, dated 5.07.02,
                            from Elisa Barnes to USMJ Pollak] {w/attachments} (cnb)
                            [Entry date 05/09/02]

           5/9/02    483    (FAXED) LETTER dated 5.08.02 from Timothy A. Bumann to
                            Magistrate Pollak enclosing a copy of the document log of
                            documents transmitted to the plaintiffs. {w/enclosures} (cnb)
                            [Entry date 05/09/02]

           5/9/02    484    (FAXED) LETTER dated 5.08.02 from Timothy A. Burmann to
                            Elisa Barnes proposing that the interrogatory answers and
                            documents be received by his office on or before 5.13.02 and
                            that they meet and confer on the 15th. If necessary, the
                            motion to be compelled will be served on 5.21. Her response
                            can be served by fax on the 28th and his reply on 5.30.02.
                            (cnb) [Entry date 05/09/02] [Edit date 06/28/02]

           5/10/02   --     TRANSCRIPT of conference before USDJ Weinstein filed for
                            date of 5.02.02. Counsel for all sides present. Official
                            C/R: Mickey Brymer. SEE: civil case no. 97-cv-2730,
                            document # 62, for further details. (cnb)
                            [Entry date 05/10/02]

           5/10/02   485    LETTER dated 5.07.02 from Elisa Barnes to Magistrate Pollak
                            requesting that the Court order the deft. Taurus
                            International Manuf. Inc. to produce a marketing and sales
                            employee with knowledge of the documents maintained
                            regarding sales and marketing at deft. Taurus for
                            deposition during the first week in June. {w/attachments}
                            (cnb) [Entry date 05/10/02]

           5/10/02   525    NOTICE OF MOTION to admit counsel pro hac vice of Michael



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                            Zomick. Fee #: 25.00; Receipt #: 262026. No motion
                            hearing set. Motion file stamped: 5.10.02. {w/attached
                            affidavit in support & additional docs.} (cnb)
                            [Entry date 06/18/02]


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           5/20/02   486    TRANSCRIPT of proceedings before USMJ Cheryl Pollak filed
                            for date of 5.02.02. Counsel for all sides present. C/R:
                            Marsha Diamond. (cnb) [Entry date 05/20/02]

           5/21/02   487    ORDER the schedule for responses and depositions is as
                            follows: responses from defts on all items not previously
                            responded to by 6.17.02; depositions of defts, by
                            videotape, starting 7/8 and continuing through the summer.
                            (Signed by Magistrate Cheryl L. Pollak, undated). [Endorsed
                            on faxed letter dated, 5.14.02, from Elisa Barnes to USDJ
                            Weinstein]. C/F-ch on 5.15.02. (cnb) [Entry date 05/21/02]

           5/21/02   488    (FAXED) LETTER dated 5.15.02 from Timothy Bumann to Elisa
                            Barnes advising that he still plans on presenting his
                            papers for hearing on 5.31.02, as ordered. (cnb)
                            [Entry date 05/21/02]

           5/21/02   495    Notice of MOTION by Elisa Barnes, counsel for NAACP, for
                            reinstatement of claims against Bruce Jennings. Motion
                            hearing set for 5.23.02 @ 10:00 a.m. Motion file stamped:
                            5.21.02. (cnb) [Entry date 06/07/02]
                            [Edit date 06/07/02]

           5/21/02   --     MEMORANDUM by Elisa Barnes, counsel for the NAACP, in
                            support of pltff's application to vacate the order of this
                            court dismissing claims against Bruce Jennings, personally.
                            [w/attached certificates of services, and exhibits A-G].
                            [Annexed to doc. #495]. (cnb) [Entry date 06/07/02]

           5/21/02   496    NOTICE of MOTION by Elisa Barnes, counsel for pltff NAACP,
                            to consolidate and joinder of additional claims. Motion
                            hearing set for 5.23.02 @ 10:00 a.m. Motion file stamped:
                            5.21.02. {w/attached memorandum in support & exhibit A}.
                            (cnb) [Entry date 06/07/02] [Edit date 06/07/02]

           5/22/02   489    (FAXED) LETTER dated 5.15.02 from Leonard Rosenbaum, o/b/o
                            manufacturer defts, to Magistrate Pollak requesting
                            clarification of Your Honor's "so order" of plaintiffs'
                            letter to the Court dated 5.14.02. {w/attachments}. (cnb)
                            [Entry date 05/22/02]

           5/22/02   490    LETTER dated 5.15.02 from Elisa Barnes to USMJ Pollak in
                            response to Mr. Rosenbaum's complaining about the need to
                            discuss objections before submitting reponses. (cnb)
                            [Entry date 05/22/02]

           5/22/02   491    LETTER dated 5.21.02 from James Dorr to Ms. Barnes
                            confirming that she will not be available on any of the
                            dates (5/29, 6/5, 6/7) that were proposed for the
                            deposition of Sturm, Ruger. (cnb) [Entry date 05/23/02]




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           5/22/02   497    MEMORANDUM by Attys for the deft. Smith & Wesson Corp., and
                            for the purposes of this opposition only, for other
                            manufacturer defts., in opposition to the [496-1] motion to
                            consolidate and joinder of additional claims. {w/attached
                            exhibit A & additional attachments}. (cnb)
                            [Entry date 06/07/02] [Edit date 06/07/02]

           5/23/02   494    Calendar entry: before USDJ Weinstein on 5.23.02 @ 11:30
                            a.m. case called for various relief motion hearing. For
                            pltff.: Elisa Barnes et al. For deft.: David Gross et al.
                            Counsel for all sides present. Motion argued. Decision on
                            the record. Dispositive motions will be heard 8.30.02. (cnb)
                            [Entry date 06/05/02]

           5/23/02   524    STIPULATION of discontinuance on behalf of the National
                            Spinal Cord Injury Association. (So Ordered: Judge Jack B.
                            Weinstein, dated: 5.23.02). (cnb) [Entry date 06/18/02]

           5/24/02   498    (FAXED) LETTER dated 5.23.02 from Timothy Bumann to
                            Magistrate Pollak requesting that discovery issues with
                            pltffs be adjourned from 5.31. (cnb) [Entry date 06/07/02]

           5/28/02   492    (FAXED) LETTER dated 5.22.02 from Elisa Barnes to USDJ
                            Weinstein requesting that this Court vacate the Stipulation
                            and Order of Protection and order BATF to produce all data
                            pltff requested immediately. (cnb) [Entry date 05/28/02]

           5/28/02   499    NOTICE of Change of Address & tel. nos. for Steven Silver.
                            New info.: The Law Offices of Steven Silver, 83 E. Harrison
                            Ave., Porterville, CA 93257-3700. Tel.: 559-788-2906. Fax:
                            599-788-2909. *w/attached service list. {Docket sheet
                            updated}. (cnb) [Entry date 06/07/02]

           5/30/02   500    ORDER, approving confirmation that the undersigned will be
                            available on 6.27.02 @ 11:00 a.m. to argue the de minimus
                            motions @ 11:00 a.m. (Signed by Judge Jack B. Weinstein, on
                            5.20.02). [Endorsed on letter, dated 5.15.02, from
                            Christopher M. Chiafullo to Ms. Lowe]. (cnb)
                            [Entry date 06/07/02]

           5/30/02   526    ORDER, granting Michael J. Zomick admission to practice
                            pro hac vice. (Signed by Judge Jack B. Weinstein, on
                            5.26.02). C/M-CH (cnb) [Entry date 06/18/02]

           5/31/02   493    TRANSCRIPT of civil cause for status conference before
                            Magistrate Pollak on 10/17/02. Henri LeGendre Court
                            Reporter. (aman) [Entry date 05/31/02]

           5/31/02   512    AFFIDAVIT by Susan M. Perlinski, for the [506-1] letter
                            moving for an order dismissing the pltff's Third Amended
                            Complaint. (cnb) [Entry date 06/12/02]



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           6/3/02    502    BUREAU of Alcohol, Tobacco and Firearms' memorandum of law,
                            by Vincent Lipari, in opposition to plffs' motion for an
                            order compelling disclosure of firearms trace database.
                            *Returned to June Lowe. (cnb) [Entry date 06/07/02]
                            [Edit date 06/07/02]

           6/3/02    503    BUREAU of Alcohol, Tobacco and Firearms' exhibit binder in
                            opposition to plffs' motion for an order compelling
                            disclosure of firearms trace database. [w/attached exhibits
                            A-I] *Returned to June Lowe. (cnb) [Entry date 06/07/02]

           6/4/02    504    NOTICE of Motion, by Elisa Barnes, for production of
                            documents. Motion hearing set for 5.01.02 @ 1:30 p.m.
                            Motion file stamped: 6.04.02. {w/attached memorandum in
                            support, exhibits A-B, affidavits of Lucy Allen & Gerald
                            Nunziato}. *Returned to June Lowe. (cnb)
                            [Entry date 06/07/02]

           6/5/02    505    NOTICE of MOTION by Brian Bender, counsel for Warehouse 610,
                            to dismiss this action for lack of personal jurisdiction.
                            Motion hearing set for 6.27.02 @ 9:30 a.m. Motion file
                            stamped: 6.05.02. {w/attached affirmation in support &
                            exhibits A-F}. (cnb) [Entry date 06/07/02]
                            [Edit date 06/07/02]

           6/5/02    514    MEMORANDUM, by Brian Bender, in support of Warehouse 610's
                            [505-1] motion to dismiss this action for lack of personal
                            jurisdiction. *Returned to June Lowe. (cnb)
                            [Entry date 06/12/02]

           6/7/02    501    LETTER dated 5.31.02 from Elisa Barnes to USMJ Pollak
                            enclosing copies of various discovery decisions in Hamilton
                            v. Accu-tek. {w/o encl.} (cnb) [Entry date 06/07/02]

           6/10/02   506    LETTER dated 5.31.02 from Richard Leamy, Jr. to USDJ
                            Weinstein advising that deft. DB Riley's Inc. moves for an
                            order dismissing the pltff's Third Amended Complaint on the
                            basis of lack of personal jurisdiction as to Riley's.
                            {w/attached exhibits A-E}. *Returned to June Lowe. (cnb)
                            [Entry date 06/10/02]

           6/10/02   507    ORDER: defts are directed to confer with counsel for ATF to
                            agree upon & execute a stipulation to be filed on or before
                            6.11.02. If the parties cannot resolve this issue counsel
                            are directed to contact this court for a conference.
                            (Signed by Magistrate Cheryl L. Pollak, on 6.05.02).
                            [Endorsed on faxed letter, dated 6.05.02, from Vincent
                            Lipari to USMJ Pollak]. C/F-CH 6.05.02. (cnb)
                            [Entry date 06/10/02]

           6/10/02   513    NOTICE of Service, by Robert Scott, Jr. counsel for Bryco
                            Arms, Inc. for certain docs. o/b/o B.L. Jennings, Inc. and
                            Bryco Arms. *NOTE: see document for detailed list. (cnb)
                            [Entry date 06/12/02] [Edit date 06/12/02]


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           6/10/02   532    ECF Consent by Alan Mansfield, counsel for Smith & Wesson



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                            Corp. *CC Terry Vaughn. (cnb) [Entry date 06/21/02]

           6/10/02   533    ECF Consent by Joel M. Cohen, counsel for Smith & Wesson
                            Corp. *CC Terry Vaughn. (cnb) [Entry date 06/21/02]

           6/10/02   540    ECF Consent by David G. Tobias, counsel for defts Riley's
                            Inc. and Faber Brothers, Inc. Note: parties are related to
                            civil action case no.: 99-cv-7037. *CC Terry Vaughn. (cnb)
                            [Entry date 06/25/02]

           6/11/02   510    CARL WALTHER, GMBH'S First set of Interrogatories to
                            plaintiff NAACP. *Forwarded to June Lowe. (cnb)
                            [Entry date 06/12/02]

           6/11/02   511    CARL WALTHER, GMBH'S first set of requests for admissions
                            and requests for production of documents to pltff NAACP.
                            *Forwarded to June Lowe. (cnb) [Entry date 06/12/02]
                            [Edit date 07/12/02]

           6/12/02   508    ORDER: the request for an adjournment of the 8.30.02 date
                            for dispositive motions is respectfully referred to the
                            magistrate judge for decision. (Signed by Judge Jack B.
                            Weinstein, on 6.10.02). [w/attachments]. {Endorsed on
                            letter, dated 6.07.02, from Elisa Barnes to USDJ Weinstein}.
                            *Returned to June Lowe. (cnb) [Entry date 06/12/02]
                            [Edit date 06/12/02]

           6/12/02   509    ORDER, granting the ATF's & defendants' request for an
                            extension of time from 6.11.02 to 6.18.02 to submit the
                            stipulation & order of protection. (Signed by Magistrate
                            Cheryl L. Pollak, on 6.10.02). C/F-CH 6.10.02. [Endorsed on
                            faxed letter, dated 6.10.02, from Vincent Lipari to USMJ
                            Pollak]. (cnb) [Entry date 06/12/02]

           6/12/02   515    LETTER dated 6.06.02 from James P. Dorr to Ms. Barnes
                            confirming their conversation in which she advised him that
                            she has elected not to take the deposition of a Ruger
                            witness on the limited issues ordered by USMJ Pollak on
                            5.01.02. (cnb) [Entry date 06/12/02]

           6/12/02   516    LETTER dated 6.07.02 from James P. Tenney to USMJ Pollak
                            advising that pltff's counsel has agreed to w/draw pltff's
                            sanctions application against Jerry's w/respect to service
                            issues. (cnb) [Entry date 06/12/02]

           6/12/02   517    LETTER dated 6.07.02 from Elisa Barnes to USMJ Pollak
                            enclosing subpoenas for police records for four NAACP
                            members in this action. {w/o encl.} (cnb)
                            [Entry date 06/12/02]



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           6/12/02   518    ORDER ADMITTING COUNSEL pro hac vice. Mark R. Hall is
                            admitted pro hac vice to the Bar of this Court for the
                            purposes of appearance & participation in this action.
                            (Signed by Judge Jack B. Weinstein, on 5.31.02). C/M-CH.
                            (cnb) [Entry date 06/12/02]

           6/12/02   523    ORDER: all papers in this case shall be filed



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                            electronically and each party is directed to obtain and
                            file the necessary ECF consent & registration forms. Mr.
                            Gross is appointed as defense liaison to confer
                            w/co-counsel and counsel for pltffs. All depositions are to
                            be limited to 7 hours. Pltffs' responses to defts'
                            outstanding discovery requests are due by 6.07.02. Those
                            defts who have not served discovery requests shall do so by
                            6.07.02. Pltffs' responses are due 6.21.02. The
                            manufacturer defts and those distributor defts who are not
                            contesting personal jurisdiction shall serve their
                            responses to pltffs' discovery requests by 6.07.02. All
                            other defts shall serve responses to pltffs' discovery
                            requests by 6.17.02. All fact discovery, including
                            depositions of fact witnesses, shall be completed by
                            7.19.02. Pltffs' expert discovery is due 7.26.02. Defts'
                            expert dicovery is due 8.16.02. Expert depositions shall be
                            completed by 8.23.02. Motions for summary judgment to be
                            fully briefed prior to oral argument on 8.30.02. To the
                            extent that defts intend to file motions contesting
                            standing prior to 8.30.02, the parties are directed to
                            propose a briefing schedule. Pltffs' counsel is directed to
                            provide copies of this Court's prior orders re: discovery
                            to those defts who were not parties in the Hamilton action.
                            If any of those defts wish to raise objections not
                            previously considerd by the Court, they are directed to
                            file such objections on or before 6.05.02. Pltffs'
                            responses are due 6.07.02. (Signed by Magistrate Cheryl L.
                            Pollak, on 6.03.02). *SEE: doc. for further details. (cnb)
                            [Entry date 06/18/02]

           6/13/02   539    ECF Consent by James V. Marks, counsel for Heckler & Koch,
                            Inc. *CC Terry Vaughn. (cnb) [Entry date 06/25/02]



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           6/14/02   519    REVISED ORDER: pltffs' responses to defts' outstanding
                            discovery requests are due by 6.07.02. Defts who have not
                            served discovery requests shall do so by 6.07.02. Pltffs'
                            responses are due 6.21.02. The manufacturer defts and those
                            distributor defts who are not contesting personal
                            jurisdiction shall serve their responses to pltffs'
                            discovery requests by 6.07.02. All other defts shall serve
                            responses to pltffs' discovery requests by 6.17.02. All
                            fact discovery, including depositions of fact witnesses,
                            shall be completed by 8.30.02. Pltffs' expert discovery is
                            due 9.09.02. Defts' expert discovery is due 10.14.02.
                            Expert depositions shall be completed by 10.23.02. Motions
                            for summary judgment to be fully briefed prior to oral
                            argument on 10.31.02. With respect to the motion for
                            summary judgment, defts' motion papers are to be served and
                            filed on 10.11.02; pltffs' opposition papers are due on
                            10.23.02; defts' reply papers are due 10.29.02, with oral
                            argument on 10.31.02. (So Ordered: by Magistrate Cheryl L.
                            Pollak, on 6.12.02). C/M-CH (cnb) [Entry date 06/14/02]

           6/14/02   528    STIPULATION of discontinuance on behalf of the National
                            Spinal Cord Injury Association, w/o prejudice and w/o costs
                            to either party as against the other. (Signed by Judge Jack
                            B. Weinstein, dated: 6.13.02). C/M-CH {w/attached letter}.



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                            (cnb) [Entry date 06/19/02]

           6/17/02   520    LETTER dated 6.13.02 from Elisa Barnes to USMJ Pollak
                            enclosing subpoenas for emergency medical services, medical
                            treatment, and medical examiner reports for four NAACP
                            members. {w/o encl.} (cnb) [Entry date 06/17/02]

           6/17/02   521    MOTIONS for protective orders of B.L. Jennings, Inc.,
                            Bryco Arms, Inc., Bruce Jennings and Janice Jennings. No
                            Motion hearing set. Motion file stamped: 6.17.02.
                            {w/attached memorandum in support}. *Forwarded to USMJ
                            Pollak. (cnb) [Entry date 06/17/02]

           6/17/02   535    Calendar entry: Before USMJ Pollak on 6.17.02 case called
                            for telephone conference. Bryco and Jennings to notify
                            court & counsel whether they will produce witnesses in N.Y.
                            or pay costs of counsel to fly to California. (cnb)
                            [Entry date 06/21/02]

           6/18/02   522    LETTER dated 6.07.02 from Elisa Barnes to USDJ Weinstein
                            seeking clarification and proposing a slightly amended
                            schedule for motions and concomitantly discovery, per the
                            6.03.02 order of USMJ Pollak. {w/attachments}. (cnb)
                            [Entry date 06/18/02]



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           6/18/02   529    MEMORANDUM of Law by Elisa Barnes, counsel for the National
                            Association of the Advancement of Colored People, in
                            opposition to motions to dismiss by certain defts on the
                            grounds of lack of personal jurisdiction and de minimis
                            participation in the market. {w/attached exhibit A &
                            additional docs.} (cnb) [Entry date 06/19/02]

           6/18/02   530    ORDER, granting Michael Bransia admission to practice pro
                            hac vice. (Signed by Judge Jack B. Weinstein, on 6.17.02).
                            {w/attachments}. (cnb) [Entry date 06/21/02]

           6/19/02   527    (FAXED) LETTER dated 6.18.02 from Robert Scott to Ms. Barnes
                            advising that he will produce Bruce Jennings and Janice
                            Jennings in NY for their depositions on an alternate date to
                            be scheduled. (cnb) [Entry date 06/19/02]
                            [Edit date 06/19/02]

           6/19/02   534    ECF Consent by Thomas E. Healy, counsel for Cz Usa,
                            co-counsel for Colt's Manufacturing, counsel for Ceska
                            Zbrojovka, & co-counsel for Excel Industries. *CC Terry
                            Vaughn. (cnb) [Entry date 06/21/02]

           6/24/02   536    ORDERED that all depositions be conducted in New York.
                            (Signed by Magistrate Cheryl L. Pollak, on 6.20.02). (cnb)
                            [Entry date 06/24/02]

           6/24/02   537    ORDER, granting defts an extension of time until 7.01.02
                            to file a stipulation and order of protection with the
                            court. (Signed by Magistrate Cheryl L. Pollak, on
                            6.21.02). [Endorsed on letter, dated 6.21.02, from Leonard
                            Rosenbaum to USMJ Pollak]. (cnb) [Entry date 06/24/02]




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           6/24/02   538    MEMORANDUM by Elisa Barnes, counsel for the National
                            Association for the Advancement of Colored People, in
                            opposition to [521-1] motion for protective orders and to
                            vacate deposition notices for B.L. Jennings, Inc., Bryco
                            Arms, Inc., Bruce Jennings and Janice Jennings.
                            {w/attachments}. (cnb) [Entry date 06/24/02]
                            [Edit date 06/24/02]

           6/24/02   542    TRANSCRIPT of civil cause before USMJ Pollak for conference
                            filed for date of 5.31.02. Counsel for all sides present.
                            C/T: Elizabeth Barron. (cnb) [Entry date 06/26/02]

           6/24/02   --     LETTER/REPLY memorandum, by Richard Leamy, Jr. in support
                            of Riley's motion to dismiss for lack of personal
                            jurisdiction. {w/attachments}. SEE: civil case no.
                            99-cv-7037, doc. # 224, for further details. (cnb)
                            [Entry date 06/26/02]

           6/24/02   543    LETTER/REPLY, by David R. Gross, to plaintiff's opposition
                            to certain distributor-defts' motion to dismiss for lack of
                            personal jurisdiction under CPLR 302 (De Minimis).
                            *Returned to June Lowe. (cnb) [Entry date 06/26/02]


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           6/26/02   541    NOTICE of motion by Elisa Barnes, counsel for plaintiff
                            NAACP, for a protective order. (cnb) [Entry date 06/26/02]

           6/26/02   --     Endorsed order, on document # 541. Defts wishing to respond
                            shall do so on or before 7.01.02. Pltff's time to respond
                            to outstanding discovery requests is extended pending a
                            ruling on the motion. (Signed by Magistrate Cheryl L.
                            Pollak, on 6.25.02). (cnb) [Entry date 06/26/02]

           6/26/02   544    (FAXED) LETTER dated 6.21.02 from Timothy Burmann to Elisa
                            Barnes confirming that the Taurus depositions are not going
                            forward until 7.02 & 03, 02, in Ft. Lauderdale. (cnb)
                            [Entry date 06/26/02]

           6/26/02   545    ORDER, the parties are directed to work out a schedule for
                            depositions w/in the time frames previously discussed.
                            Otherwise, this court will set the schedule. (Signed by
                            Magistrate Cheryl L. Pollak, on 6.24.02). C/F-CH. [Endorsed
                            on faxed letter, dated 6.21.02, from Elisa Barnes to
                            Counselors]. (cnb) [Entry date 06/26/02]

           6/26/02   546    (FAXED) LETTER dated 6.24.02 from Robert E. Scott to Elisa
                            Barnes advising that Bruce Jennings & Janice Jennings will
                            be available for their depositions on 7/18-19. Additional
                            dates are 7/22-23 & 7/25-26. (cnb) [Entry date 06/26/02]

           6/26/02   547    ECF Consent by Jeffrey S. Nelson, and Tina M Schaefer, both
                            counsel for Smith & Wesson Corp. *CC Terry Vaughn. (cnb)
                            [Entry date 06/26/02]

           6/27/02   548    MAIL RETURNED: revised order signed by USMJ Pollak on
                            6.12.02 was returned on 6.27.02. Addressed to: Charles L.
                            Coleman III, 44 Montgomery Street, Suite 4050, San
                            Francisco, CA 94104. Returned w/notations: "Moved, not



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                            forwardable." *Forwarded to June Lowe. (cnb)
                            [Entry date 06/27/02]

           6/28/02   --     Case selected for Electronic Case Filing (ECF) all further
                            proceedings will be entered on ECF docket. Please refer to
                            www.nyed.uscourts.gov. Per chambers. (tv)
                            [Entry date 06/28/02]

           10/31/02 549     LETTER dated 10/29/02 from Donald G. McGrath to Magistrate
                            Pollak and Robert C. Heinemann, Clerk of Court informing
                            that the firm, McGrath & Polvino, PLLC, never appeared in
                            this case, therefore, would like to be removed, along with
                            Falk & Siemer LLP, from the distribution lists. (aman)
                            [Entry date 11/01/02]

           [END OF DOCKET: 1:99cv3999]

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